Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 1 of 88




                                                                  5.5. Repeat Spreaders


of false or misleading information in our dataset. Right-leaning accounts also
more frequently augmented their misinformation posts with narrative-related
hashtags, such as #StopTheSteal and #DeadVoters, which persisted across
multiple incidents and were shared millions of times in our dataset.14 Most
unique about right-leaning accounts, however, was their frequent involvement
in many tickets. Whereas almost all of the most influential left-leaning accounts
were involved in only one or two incidents of false or misleading information,
many right-leaning accounts with large audiences were involved with upwards
of 10, and were often responsible for seeding or catalyzing an incident’s spread
through the conservative, right-wing, and pro-Trump Twitter networks.


5.5     Repeat Spreaders
In this analysis, we attempt to identify entities—e.g., Twitter accounts, Facebook
Pages, and YouTube channels—that played a significant role in the spread of
multiple election integrity incidents, such as the ones identified above in Sec-
tion 5.3 on page 183. Expanding upon our pre-election analysis of influential
Twitter accounts, we refer to these entities as “repeat spreaders.”15


Repeat Spreader Twitter Accounts
First, we look at the most influential Twitter accounts across election integrity
incidents in terms of shaping the flow of information. We identify accounts that
produced highly retweeted original tweets (retweeted more than 1,000 times)
across multiple incidents. Table 5.2 on the next page lists the accounts that
appeared across the most incidents (>=10) along with relevant details for each
account.
The 21 most prominent repeat spreaders on Twitter—accounts that played a
significant role in disseminating multiple false or misleading narratives that
threatened election integrity—include political figures and organizations, parti-
san media outlets, and social media all-stars. Perhaps a reflection on both the
nature of information threats to election integrity and our process for identify-
ing them (see Chapter 2 for a note on the limitations of our approach), all 21 of
the repeat spreaders were associated with conservative or right-wing political
views and support of President Trump, and all featured in the politically “right”
cluster in our network graph in Figure 5.1 on the facing page. Notably, 15 of the
top spreaders of election misinformation were verified, blue-check accounts.
President Trump and his two older sons figure prominently in the Twitter
dataset. In addition, several GOP political figures, along with leaders of con-
servative political organizations, repeatedly spread misleading narratives on
Twitter. Charlie Kirk of Turning Point USA, for example, posted three tweets at

                                                                                     187
      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 2 of 88




5. Actors and Networks: Repeat Spreaders of Election Misinformation

                                                          Tweets                      Retweets         Left
        Rank       Account        Verified   Incidents   w/ >1000     Followers            in           or
                                                         Retweets                     Incidents        Right
        1      RealJamesWoods     True             27          36       2,738,431         403,950      Right
        2      gatewaypundit      True             25          45          424,431        200,782      Right
        3      DonaldJTrumpJr     True             24           27     6,392,929          460,044      Right
        4      realDonaldTrump    True             21          43     88,965,710        1,939,362      Right
        4      TomFitton          True             21          29       1,328,746          193,794     Right
        6      JackPosobiec       True             20           41       1,211,549         188,244     Right
        7      catturd2           False             17         20         436,601           66,039     Right
        8      EricTrump          True             16          25      4,580,170          484,425      Right
        9      ChuckCallesto      True             15           17          311,517          117,281   Right
        10     charliekirk11      True             13           18      1,915,729         232,967      Right
        11     marklevinshow      True             12           10     2,790,699             90,157    Right
        11     cjtruth            False            12           27        256,201           66,698     Right
        11     JamesOKeefeIII     False            12          64       1,021,505         625,272      Right
        11     prayingmedic       False            12          26         437,976            57,165    Right
        15     RichardGrenell     True              11          12         691,441         143,363     Right
        15     pnjaban            True              11          14       208,484             58,417    Right
        17     BreitbartNews      True             10            11     1,647,070           38,405     Right
        17     TheRightMelissa    False            10           31        497,635           73,932     Right
        17     mikeroman          False            10           10          29,610         128,726     Right
        17     robbystarbuck      True             10           15        204,355            65,651    Right
        17     seanhannity        True             10          22      5,599,939            96,641     Right

       Table 5.2: Repeat Spreaders: Twitter accounts that were highly retweeted across multiple inci-
       dents. Twitter has since suspended the accounts of realDonaldTrump (January 6), The Gateway
       Pundit (February 6), cjtruth, and prayingmedic (January 8).16 Account verification status as of
       11/10/2020.


       critical times that helped to catalyze the spread of Sharpiegate (see Chapter 3,
       and Chapter 4 Figure 4.6 on page 167). James O’Keefe, founder of Project Veritas,
       is also a significant repeat spreader. We discuss in more detail the activities
       of President Trump and his sons, as well as James O’Keefe and Project Veritas,
       below in Section 5.6.
       Far-right hyperpartisan media outlets also participated in a wide range of inci-
       dents, including The Gateway Pundit, which ranked #2 in the dataset; Breitbart
       News; and two Fox News hosts. The Gateway Pundit (Twitter suspended this ac-
       count on February 6, 2021) and Breitbart News are examined fully in Section 5.6
       on page 195. The remainder of the repeat spreader accounts include a range of
       right-wing social media influencers—James Woods, conservative celebrity and
       actor, tops the list.
       Many of these accounts follow others in this group, and their networks of
       followers overlap as well. They also actively promote and spread each others’
       content. Once content from misleading narratives entered this right-wing
       Twitter network, it often spread quickly across influential accounts and out to

188
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 3 of 88




                                                                               5.5. Repeat Spreaders


their overlapping audiences, making it very difficult to slow down or correct.


Domains Cited in Incidents (in the Twitter Data)
Next, using the same tweet data, we identified the most prominent domains
across election integrity incidents. We identified domains that were highly
tweeted (linked to by more than 500 tweets or retweets) in multiple incidents.
Table 5.3 lists the domains that appeared across the most incidents (>=7) along
with relevant details for each account. Domains within this list may be cited for
different reasons—some (the Washington Post, for example) appear in this table
for articles that debunked false claims and narratives.
                                                                                          ≈%
                                                  # Original      Total      ≈% Left
 Rank            Domain              Incidents                                           Right
                                                   Tweets       Retweets     Spread
                                                                                        Spread
 1      www.thegatewaypundit.com            46        29,207     840,740       0.08%     99.92%
 2      www.breitbart.com                   26         8,569     394,689       0.94%     99.06%
 3      www.youtube.com                     21        14,040     269,996        2.51%     97.49%
 4      www.washingtonpost.com              18         1,986      74,360      84.76%      15.23%
 5      www.foxnews.com                     14         1,330       34,143      0.91%     99.09%
 6      www.theepochtimes.com               12          2,167     86,325       0.00%    100.00%
 7      nypost.com                           11         4,513     178,176      2.27%      97.73%
 8      www.zerohedge.com                   10         1,043       27,687      0.52%     99.48%
 8      www.cnn.com                         10         1,269     100,642      89.28%       10.71%
 10     apnews.com                           9           432       13,067     33.84%      66.14%
 10     justthenews.com                      9         1,035      61,305       0.00%    100.00%
 10     www.nytimes.com                      9            776     50,021      63.88%      36.11%
 10     thedcpatriot.com                     9            572      26,417      0.00%     99.99%
 14     gellerreport.com                     8            516      15,075      0.00%     99.99%
 14     thenationalpulse.com                 8            770     39,160       0.00%     99.99%
 14     nationalfile.com                     8         4,443     195,489        0.51%    99.48%
 17     www.washingtontimes.com               7          280        11,445      1.45%    98.54%
 17     www.pscp.tv                           7        2,067      83,269       0.47%     99.53%
 17     saraacarter.com                       7           531       81,172      1.39%    98.60%
        www.washingtonexam-
 17                                           7         1,518      75,939      0.98%     99.02%
        iner.com

Table 5.3: Domains, extracted from tweets, that were highly tweeted (>500) across multiple
incidents. Shortened URLs were followed when possible to extract original domains. The incident
count includes the number of incidents for which the domain was linked to in over 500 tweets
or retweets in our incident-related Twitter data. The original tweets are the count of non-
retweets (including quote tweets and replies) that mentioned the domain within those incidents,
while the total retweets column is a count of the retweets, both from within our incident-linked
Twitter data. Finally, the estimated right/left spread is the proportion of original tweets made
by influential users classified on the ideological spectrum based on our network analysis, above.
Users not included in that network analysis are excluded from the estimate.


The top 20 domains involved in spreading or discussing false or misleading in-
formation included both partisan and mainstream media outlets—which played

                                                                                                    189
      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 4 of 88




5. Actors and Networks: Repeat Spreaders of Election Misinformation


       markedly different roles in the information incidents (primarily spreading vs.
       primarily correcting). The two most significant domains in our incident-related
       data belonged to partisan outlets: The Gateway Pundit (www.thegatewaypun-
       dit.com) and Breitbart (www.breitbart.com). Fox News again appears on the list;
       other notable partisan news outlets are described in Appendix C on page 251.
       A number of “mainstream” media sites also appear in our list of frequent
       domains—often picked up within the left-leaning clusters in our network map.
       Though this may suggest a somewhat equal share of participation in misinfor-
       mation on the political left and right, the majority of stories cited on “the left”
       were referenced as fact-checks on the associated incidents or narratives. For
       instance, a story from CNN that challenges the Trump campaign’s claims of
       deceased voters is representative of the corrective role these sites played within
       the spread of these misleading narratives.17
       A couple of incidents of false or misleading information did run through the left,
       including a story about unauthorized voting boxes being set up by Republicans—
       a true story, but one that falsely framed the motive and exaggerated the impact
       of such actions. The story was covered by “mainstream” media sites including
       AP News, the New York Times, CNN, and the Washington Post, all included in our
       list of frequent domains. A discarded-mail incident was framed by the left as
       the Trump administration’s effort to harm the mail-in voting process. CNN, in
       particular, was cited in that USPS ballot-dumping narrative—though for content
       that did not explicitly invoke the election integrity frame.
       The presence of both YouTube (youtube.com) and Periscope (pscp.tv) in the
       highly tweeted domain list illustrates the cross-platform nature of misleading
       election-related narratives.
       YouTube data is further discussed below. Interestingly, in our election-integrity
       related data, both YouTube and Periscope were primarily tweeted by accounts on
       the political right or pro-Trump side of the network (see Figure 5.1 on page 186).
       In summary, though a few false or misleading narratives about the integrity of
       the 2020 election did run through the left, when we look at the domains that
       repeatedly helped to spread—as opposed to correct—election-related misinfor-
       mation, we find an array of predominantly right-wing and pro-Trump partisan
       media outlets.


       Repeat Spreaders: YouTube Channels in the Twitter Data
       YouTube played a prominent role in the spread of false and misleading informa-
       tion across the election integrity incidents we analyzed, ranking third among
       most linked-to domains overall. In at least 44 distinct incidents, YouTube videos
       were tweeted more than 10 times.

190
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 5 of 88




                                                                            5.5. Repeat Spreaders


From our corpus of data, we identified the YouTube channels that were repeat
spreaders within the Twitter discourse—i.e., those that repeatedly used YouTube
to disseminate multiple false and/or misleading narratives. To do this we first
extracted all of the YouTube links from our incident data and used the YouTube
API to determine what channels posted the videos. We then identified channels
that were highly tweeted—linked to more than ten times in an incident—for
multiple election integrity incidents. This provided a corpus of 665 videos
from 411 unique YouTube channels.18 Table 5.4 lists the top 12 repeat spreader
channels (>4 incidents) that arose from this analysis.

                                                      Total                YouTube
          Rank          Channel          Incidents                Videos
                                                     Tweets                  Views
          1      Project Veritas                7     128,734         26   9,613,437
          1      CDMedia                        7     258,314          1     691,395
          3      Donald J Trump                 6       4,338         10   10,849,373
                 One America News
          3                                     6    207,544          15   4,034,274
                 Network
          3      GOP War Room                   6     186,106          8    1,732,847
          3      Dr. Shiva Ayyadurai            6     196,292          1   1,052,429
          7      Gateway Pundit                 5       10,015        13   4,085,657
          8      NewsNOW from FOX               4          406         7   9,450,514
          8      StevenCrowder                  4      15,490          3   8,159,462
          8      BlazeTV                        4           314        6   3,900,083
          8      Judicial Watch                 4        1,333         7      511,568
          8      MR. OBVIOUS                    4          283         5      401,481

Table 5.4: Repeat Spreaders: YouTube channels that were highly tweeted (>=10 times/incident)
across multiple (>=4) incidents.

The channels found to be repeat spreaders of false and misleading narratives
through YouTube look similar to the repeat spreaders on Twitter—right-wing
influencers, hyperpartisan media outlets such as One America News Network
(OANN) and The Gateway Pundit, political groups supportive of President Trump
such as Project Veritas, and President Trump himself. These channels attracted
millions of views for content related to known incidents of misinformation
surrounding the 2020 election.
Two channels, compilation video creators Dr. Shiva Ayyadurai and CDMedia,
were remarkable in that they appeared in our top repeat spreader list for being
cited in multiple incidents, but for only a single video. Dr. Ayyadurai is discussed
as a prominent repeat spreader in Section 5.6 on page 195.


Repeat Spreaders: Facebook Pages & Groups and Instagram
For our Facebook and Instagram analysis, we identified accounts (public Pages
and Groups for Facebook, public accounts for Instagram) that were highly en-
gaged with across multiple incidents. Aligning with the threshold used for

                                                                                               191
      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 6 of 88




5. Actors and Networks: Repeat Spreaders of Election Misinformation


       accounts in our Twitter analysis, a post had to receive at least 1,000 likes or
       favorites to be counted as part of an incident. In this way, we were looking for
       accounts that were influential across incidents. The total engagement column
       for Facebook is the sum of likes (and other emotive reactions), comments, and
       shares. For Instagram, the total engagements are the sum of favorites and com-
       ments. Tables 5.5 and 5.6 on page 194 feature the accounts that appeared across
       the most incidents.
                                               Facebook      # of      # of        Total
                 Rank    Account Name
                                              Page/Group   Incidents   Posts     Engagement
                 1      Breitbart             Page                 8       20        831,452
                 1      The Silent Majority   Page                 8         7        69,763
                        Heather Cox
                 3                            Page                6         8       816,755
                        Richardson
                 3      David J Harris Jr.    Page                6         11      282,652
                 3      James O’Keefe         Page                6        20       194,596
                 3      Project Veritas       Page                6        20        165,377
                 7      NowThis Politics      Page                5         11      244,023
                 7      Team Trump            Page                5          5        153,118
                 7      Ryan Fournier         Page                5         6         67,885
                 7      Wendy Bell Radio      Page                5         6        62,020
                        #WalkAway
                 7                            Group               5         12       51,854
                        Campaign
                 7      StandwithMueller      Page                5          7       19,345

       Table 5.5: Repeat Spreaders: Facebook Pages and public Groups that were highly engaged with
       (>=1000 engagements) across multiple (>=5) incidents.



       Facebook
       Table 5.5 shows the top 12 public Facebook Pages and Groups that repeatedly
       shared content about the incidents in our dataset. From this data, we see that
       public Facebook Pages (and not public Facebook Groups) tended to appear more
       frequently as repeat spreaders. Only one Facebook Group appeared as a repeat
       spreader. This may not be surprising, as many Groups that played a role in the
       spread of election-related misinformation are either private (so would not be
       accessible via CrowdTangle) or have been removed from Facebook.19 Facebook’s
       longer format provided an opportunity for Pages to host long, detailed posts that
       contain false claims and misleading narratives that spanned multiple incidents.
       Among the repeat spreaders in the Facebook data, we see several familiar names,
       including Breitbart, James O’Keefe, and Project Veritas. Short-form videos were
       popular on the official Facebook account of Team Trump, which does not appear
       to be officially associated with the Trump campaign.
       Most of the repeat spreaders in the Facebook list are, similar to what we see in
       the Twitter and YouTube data, right-leaning and/or Trump-supporting entities.

192
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 7 of 88




                                                                         5.5. Repeat Spreaders


However, we do see three left-leaning Pages among the group—NowThis Politics,
StandwithMueller, and historian Heather Cox Richardson. The inclusion of all
three is primarily the result of their Pages attempting to fact-check or otherwise
counter false or misleading information about the election. For example, the
NowThis Politics post below attempts to correct post-election misinformation,
quoting the Trump campaign in its text.




Figure 5.2: An example of a NowThis Politics Facebook post discussing Trump campaign claims
included in the data.




Instagram
The Instagram repeat spreaders list (see Table 5.6 on the next page) looks some-
what similar to our Twitter list, containing accounts of partisan media organiza-
tions (e.g., The Gateway Pundit, Breitbart), and public individuals (e.g., James
O’Keefe).

                                                                                              193
      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 8 of 88




5. Actors and Networks: Repeat Spreaders of Election Misinformation

                                                              # of       # of        Total
             Rank       Account Name            Verified
                                                            Incidents    Posts     Engagement
             1      KAGBABE 2.O              Not verified           12       33         80,484
             2      Breitbart                Verified              10         14       670,577
             2      The Gateway Pundit       Not verified          10        20        132,440
             4      James O’Keefe            Verified                6       20        410,335
             4      Baller Alert             Verified                6         7       102,837
             6      Michael Hennessey        Not verified            5       82        169,623
             6      Occupy Democrats         Not verified            5         5        51,289
             6      Latinos With Trump       Not verified            5        14         47,167
             6      Ben & Hannah🦅            Not verified            5        11        19,529
                    #HisNameWasSethRich
             6                               Not verified           5          7        18,814
                    🐼🇺🇸

       Table 5.6: Repeat Spreaders: Facebook Pages and public Groups that were highly engaged with
       (>=1000 engagements) across multiple (>=5) incidents.




       Unlike our Twitter list, most of the other accounts on the Instagram list are
       not verified. We see a few new names that we do not see anywhere else, like
       KAGBABE 2.O—an anonymous account that showed up in the most incidents—
       Baller Alert, Michael Hennessey/Snowflake News, Latinos with Trump, Ben &
       Hannah, and HisNameWasSethRich.


       An account we see among the Instagram repeat spreaders is the left-leaning
       group “Occupy Democrats.” Their Facebook Page also appeared in a few incidents
       (though not enough to make the list of top spreaders in Table 5-5). In at least
       two cases, Occupy Democrats was picked up in our data for trying to correct
       misinformation related to an incident. In others, they spread information that
       functioned to fan fears of voter disenfranchisement and intimidation.


       For example, a tweet went viral on October 20, 2020, depicting an officer wear-
       ing a Trump mask at a polling station in Miami.20 Within an hour, the Miami
       Police Department publicly condemned the actions of the officer.21 Despite the
       official condemnation, Occupy Democrats reposted the image through both its
       Instagram and Facebook accounts. Its posts urged people to report the officer to
       the non-emergency police line. Both posts created a lot of engagement. There
       is no evidence to support the claim that this was part of an organized police-led
       voter intimidation campaign, which appears in the embedded meme in the Oc-
       cupy Democrats Facebook post in Figure 5.3 on the facing page. That framing
       was both false and, while it likely functioned to rile Occupy Democrats followers
       on the left, also carried a risk of suppressing voter turnout by fomenting fears
       around voter intimidation at the polls (a concept covered in Chapter 3 with the
       “Army for Trump” example).22

194
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 9 of 88




                             5.6. An Integrated Look at Repeat Spreaders Across Platforms




Figure 5.3: Screenshots of posts by Occupy Democrats about the incident, with specific instruc-
tions in the Facebook post (right) to call Miami’s non-emergency line to report the officer, both
after Miami PD’s official response.



5.6       An Integrated Look at Repeat Spreaders
          Across Platforms
In this section, we provide an integrated view, looking at how some of the most
active and prominent repeat spreaders pushed false and misleading narratives
about the election across platforms.


President Trump, His Family, and the Trump Campaign
Though the specific claims and narratives often originated elsewhere, the Trump
family and the Trump campaign regularly amplified incidents of false and mis-
leading information—especially false claims of election fraud—across multiple
platforms. President Trump’s official Twitter account (@realDonaldTrump) par-
ticipated in 21 distinct incidents and was the most highly retweeted in all of our
incident-related data (Twitter permanently suspended his account on January 8,
2021).23 His YouTube channel put out videos that linked to six distinct incidents,
making him tied for third, and that were viewed more than any other repeat
spreader’s videos. And his Facebook official account was the most engaged-with
account in all of our Facebook data.

President Trump’s adult sons Donald Jr. and Eric were involved in 24 and 16
incidents respectively; Donald Jr. was the third most prominent Twitter user
in the incident-related data. Between them, the president, Donald Jr., and Eric
Trump spread and reinforced narratives questioning the security of the mail-in
voting process, ballot harvesting claims, several different narratives about poll

                                                                                                    195
      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 10 of 88




5. Actors and Networks: Repeat Spreaders of Election Misinformation


       watchers being denied access and other questionable “whistleblower” claims,
       and the Dominion conspiracy theory.

       These cases capture solely when Donald Trump or his campaign produced
       content (posts, videos, tweets) related to an incident. In addition to content
       production, the Trump team regularly used retweets to amplify content by
       hyperpartisan media outlets and other accounts. Leading up to the election,
       we described one incident in which Donald Trump Jr. amplified a ballot har-
       vesting narrative produced by Project Veritas (see Figure 3.16 on page 66 in
       Chapter 3).24 Similar amplification events occurred involving Dr. Shiva Ayyadu-
       rai, The Gateway Pundit, Breitbart, and other hyperpartisan outlets. Owing
       to their large following, members of the Trump family—and a broader array
       of accounts associated with their campaign—were able to catalyze the spread
       of election fraud narratives. Their role in the spread of misinformation was
       therefore multidimensional—through both content production and content
       amplification.

       Their activity also extended beyond social media. Claims of electoral fraud were
       pushed by members of the Trump family, the Trump campaign, and other surro-
       gates on cable news, through press briefings, and eventually within numerous
       court cases. Perhaps the most important role the Trump inner circle played was
       to seed and perpetuate the prevailing narrative—the general notion of a “rigged
       election.”


       The Gateway Pundit
       The Gateway Pundit was among the most active spreaders of election-related
       misinformation in our analyses. The outlet used a cross-platform strategy,
       hosting content on its website and using other channels to promote both its
       own and others’ content. It appeared as a top repeat spreader through its
       website, its Twitter account, its YouTube channel, and its Instagram account.
       (Twitter suspended the account on February 6, 2021).25

       Figure 5.4 on the facing page shows the relative engagement with The Gateway
       Pundit’s content over time and across platforms within our incident-related
       data.

       Unlike some of the other entities featured here, The Gateway Pundit was highly
       active throughout the election lifecycle, including during the weeks leading
       up to the election, when it repeatedly spread content—in distinct information
       incidents—that sought to undermine trust in mail-in voting specifically and the
       eventual election results more generally. It participated in seeding and spread-
       ing misleading information about ballots being harvested, chased, dumped,
       stolen, and miscounted. It spread false narratives of election fraud built upon

196
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 11 of 88




                                                                                           5.6. An Integrated Look at Repeat Spreaders Across Platforms

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                                                                                                                 �����������
 Figure 5.4: Engagements per day for The Gateway Pundit. Facebook engagements are in blue,
 Twitter retweets in orange, and Instagram likes in green.



 misinterpretations of statistics and was active in spreading the false Dominion
 conspiracy theory.
 On Twitter, The Gateway Pundit’s account was highly retweeted across 26 dif-
 ferent incidents (#2 among repeat spreaders). Evidence from our data suggest
 that its prominence was due both to production of its own material and to am-
 plification (via original and quote tweets) of other partisan content. It repeatedly
 interacted with content and accounts of other repeat spreaders and influencers,
 including Project Veritas, as shown in Figure 5.5.




Figure 5.5: Quote tweet by @JamesOKeefeIII (the founder of Project Veritas) of a tweet by Jim
Hoft (the operator of @gatewaypundit). Hoft’s tweet links to an article on thegatewaypundit.com,
which promotes a video released by Project Veritas.


Of all the domains linked to in our Twitter data, The Gateway Pundit’s website
was connected to the largest number of incidents (46) while also garnering the

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      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 12 of 88




5. Actors and Networks: Repeat Spreaders of Election Misinformation


       most related original tweets (29,207) and retweets (840,750). Their YouTube
       channel appeared in five incidents, and their 13 incident-related videos had
       more than 4 million views on YouTube.
       The Gateway Pundit was not as visible in the Facebook data we collected, but
       its Instagram account was tied for #2 among repeat spreaders, appearing in 10
       incidents for 20 posts that received more than 132,000 engagements.


       Breitbart News
       Breitbart News, a right-wing, online media outlet, was also a cross-platform
       repeat spreader—pushing false and misleading narratives about the election
       through their website, Twitter account, Facebook Page, and Instagram account.
       In terms of number of different false or misleading information incidents that
       they helped to spread, they were #1 on Facebook (8 incidents), #2 on Instagram
       (10 incidents), and #2 among linked-to websites in the Twitter data (26 incidents).
       On Facebook and Instagram, they had the highest engagement among repeat
       spreaders.
       Breitbart participated in a wide range of ballot-related incidents, such as mail-
       dumping and ballot harvesting, voting machine issues, and now-debunked claims
       that statistical anomalies suggest widespread election fraud. It both produced
       its own content and propagated stories that initially rose to prominence on other
       domains. Often, it picked up content found elsewhere online and reframed that
       content within its own articles. However, Breitbart tended to be more careful
       than The Gateway Pundit and others in how it framed events to subtly connect
       them to potential issues of voter fraud without explicitly making those claims.


       Newsmax Media
       Newsmax Media (formerly NewsMax) is a conservative media outlet that pro-
       duces content through its website, cable news channel, and various social media
       accounts—including Twitter, YouTube, Facebook, and Instagram. Especially ac-
       tive in the aftermath of the election, Newsmax repeatedly posted videos—across
       their many media channels—where they hosted guests that made unsupported
       and in many cases outright false claims about election fraud. The outlet appears
       in several incidents in our data, from Stop The Steal and Sharpiegate to the
       Dominion and Hammer and Scorecard conspiracy theories.
       The Newsmax website is most visible in our data for seeding a misinformation
       incident through a video interview (available on their website) claiming that the
       head of the Federal Election Commission, Trey Trainor, believed that voter fraud
       was occurring in states still counting ballots. Newsmax also hosted a pundit who
       claimed that the Democrats were attempting a “coup” and ran several segments

198
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 13 of 88




                                                                                        5.6. An Integrated Look at Repeat Spreaders Across Platforms


 containing false accusations about companies involved in the manufacture and
 software development for voting machines.

Perhaps more interesting than the specific incidents that Newsmax was involved
in spreading is how the media outlet vastly increased its visibility in this discourse
immediately following the election. Figure 5.6 shows engagement (likes and
comments) across platforms with Newsmax content related to incidents of false
or misleading information about the election. Prior to November 3, Newsmax
was not a significant part of these conversations. But after the election, the
media outlet began to gain attention—quite rapidly—for its coverage of election
fraud claims.

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                                                                                                              �����������
 Figure 5.6: Engagements per day for Newsmax in incident-related data. Facebook is in blue,
 Twitter retweets in orange, Instagram in green, and YouTube in red.


Gains in engagements on Newsmax’s content were accompanied by gains in
followers for their accounts on various social media platforms—translating to a
potentially long-term visibility increase for the outlet. Figure 5.7 on the next page
shows followers over time for Newsmax’s Twitter and Instagram accounts. Both
demonstrate a sharp increase in early November. The Twitter graph (which we
can generate at a much higher granularity) indicates that the first sharp increase
occurs at about 4:00 am UTC on November 3 (11:00 pm EST on election night).
Much of that may be attributable to their election night projections, including
a tweet erroneously announcing that President Trump had won the state of
Georgia. The @newsmax Twitter account would continue to gain followers
over the course of the post-election period—growing by nearly 300% in two
weeks (from 232,000 on November 2 to 668,000 on November 15)—as their
content began to coalesce around false claims of election fraud. Their Instagram
account saw an even more remarkable gain, from 47,400 followers on October

                                                                                                                                                           199
      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 14 of 88




5. Actors and Networks: Repeat Spreaders of Election Misinformation


       31 to 318,500 followers on November 14 (an increase of more than 600%).




             Figure 5.7: Newsmax followers growth on Twitter (orange) and Instagram (green).

       During the post-election period (November 3 to November 15), Newsmax also
       began to promote themselves as a pro-Trump alternative to Fox News, which
       was being criticized for, among other things, calling Arizona for Biden. Reflecting
       what appears to be a strategy of staking claim to the right-wing and pro-Trump
       media market, on November 8 Newsmax bragged that they were the “only major
       news network to not call the election.”
       Later, Newsmax would be legally pressured to post “clarifications” to many of
       the false accusations that they aired.26 But it’s likely that their reputational
       boost—in terms of followers on their social media accounts—from posting the
       original false claims was not significantly diminished by the later corrections.


       Project Veritas
       The data show that Project Veritas was a prominent repeat spreader of false
       and misleading information about the 2020 election across multiple platforms,
       through both the organization’s accounts and the personal accounts of its
       founder, James O’Keefe. (Twitter permanently suspended Project Veritas’s of-
       ficial account and temporarily locked James O’Keefe’s on February 11, 2021.)
       They produced several videos in the form of “investigative reports” that they
       hosted on YouTube and their official website. They used their other social media
       channels—where they were connected to a network of other large-audience,
       blue-check conservative and pro-Trump accounts—to advertise and disseminate
       their videos.
       As a montage view of their YouTube videos shows, Project Veritas produced
       videos that repeatedly challenged the integrity of electoral procedures, elec-
       tion and postal service officials, and ultimately the results of the election (see
       Figure 5.8 on the facing page).

200
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 15 of 88




                              5.6. An Integrated Look at Repeat Spreaders Across Platforms




 Figure 5.8: Project Veritas’s YouTube Page containing a number of their investigative reports on
 election fraud.



Project Veritas videos maintain a consistent, signature style: they begin with
founder James O’Keefe describing the alleged fraud their video exposes before
moving on to undercover videos or anonymized interviews that are presented as
“proof” of their claims. The videos are highly edited, with often incomplete nar-
ratives. Notably, the subjects of some of the videos Project Veritas released were
found to be unreliable sources—for example, the political operative whistleblow-
ing about alleged ballot-harvesting by the Ilhan Omar campaign later revealed
he was offered a $10,000 bribe to make up the story.27

Though Project Veritas claimed to face deplatforming efforts on Twitter during
the 2020 election cycle (ostensibly for violating Twitter’s civic integrity poli-
cies), they were highly successful at disseminating their content throughout the
2020 election.28 In addition to their engagement on YouTube, the group gained
5.8 million views on videos they uploaded to their Facebook Page in 2020 and
over 12 million views on their Instagram videos. Their success, in part, can be
attributed to James O’Keefe, who uses his personal platform and connections
with other conservative influencers to direct attention to their video content,
hosted across multiple platforms. O’Keefe’s personal Twitter account (@Jame-
sOKeefeIII) appeared in 12 of our election integrity incidents and garnered over
625,000 retweets, primarily for posts promoting Project Veritas’s content.

 O’Keefe’s Facebook Pages were often used nearly identically to his Twitter
 account, complete with the use of hashtags, short-form statements on particular
 incidents, and linked videos, as seen in Figure 5.9 on the next page.

                                                                                                    201
      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 16 of 88




5. Actors and Networks: Repeat Spreaders of Election Misinformation




          Figure 5.9: Identical posts by James O’Keefe on both Facebook (left) and Twitter (right).



       In the lead-up to the election, Project Veritas focused their efforts on sowing
       doubt in the integrity of mail-in voting by pushing narratives around ballot
       harvesting and what they term “ballot chasing.” They released several videos
       on their YouTube channel that claimed various campaigns (of primarily down-
       ballot races) were engaging in illegal ballot harvesting and facilitating mail-in
       voter fraud, including one accusing Representative Ilhan Omar. Project Veritas
       promoted the drop of the video on Twitter prior to releasing it on YouTube
       (see Figure 3.14 on page 65 in Chapter 3). Following its release, the video was
       linked to by multiple prominent partisan media news sites such as The National
       Pulse, whose stories were further amplified by retweets by Donald Trump Jr.
       The cross-platform attention drew users to the video on YouTube, resulting in
       nearly 1.2 million views. O’Keefe capitalized on the attention garnered by the
       video to release multiple subsequent undercover reports on alleged election
       fraud. Subsequent videos failed to gain as much traction, but still consistently
       garnered at least 100,000 views on YouTube.

       After the election, Project Veritas began producing videos of “whistleblowers”
       alleging fraudulent behaviors in swing states—this included a video testimonial
       from a Pennsylvania postal worker claiming that late ballots were backdated.
       O’Keefe tweeted the video (embedded within Twitter, as well as posted to the
       YouTube channel) to his one million followers. After the worker recanted his
       testimony in an affidavit a few days later, O’Keefe posted a follow-up tweet/video
       combination claiming that the whistleblower had been retaliated against by the
       USPS.29 Both tweets (see Figure 5.10 on the next page) gained significant traction,
       receiving thousands of retweets and likes.

       Notably, Twitter did take action on some of the misleading content propagated
       by Project Veritas and O’Keefe, occasionally adding labels saying the content was

202
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 17 of 88




                              5.6. An Integrated Look at Repeat Spreaders Across Platforms




 Figure 5.10: Tweets from James O’Keefe, founder of Project Veritas, claiming mail-in voting fraud
 in Pennsylvania.


 disputed and eventually suspending the @Project_Veritas account. Yet a lack of
 uniformity in policies across platforms, and the group’s significant presence on
 multiple social media platforms, mean that most of Project Veritas’s misleading
 content remains online in some format.


 Dr. Shiva Ayyadurai
Dr. Shiva Ayyadurai played a unique role in promoting electoral misinformation—
in that it began after election day and featured almost exclusively content that
misinterpreted and/or misrepresented statistics. He is also an example of over-
lap between producers of coronavirus and electoral misinformation. Ayyadurai’s
platform grew remarkably in 2020, after a video claiming Dr. Anthony Fauci was
part of a Deep State conspiracy to spread coronavirus garnered more than six
million views in a week.30 After the 2020 election, he successfully leveraged
YouTube’s livestreaming feature to produce lengthy videos that proliferated
multiple false narratives alongside dubious statistical “evidence.” His videos
were similarly livestreamed and viewed on Periscope and Facebook.
After a failed primary campaign for the US Senate in September 2020, Ayyadurai
began promoting a conspiracy theory that computer tabulation systems system-
atically switched votes in favor of his opponent. After November 3, he extended
this claim—based on fraught statistical analysis31 —to asserting fraud in the US
presidential election. His argument took several forms, broadly and erroneously

                                                                                                     203
      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 18 of 88




5. Actors and Networks: Repeat Spreaders of Election Misinformation


       claiming that Trump’s under-performance in areas with more straight-ticket
       Republican votes was evidence of a “weighted feature” of tabulation software
       favoring Joe Biden. When his arguments were debunked by statisticians, he al-
       tered or changed expectations or presented a new and equally fraught statistical
       argument.
       His most popular video has gained over 1 million views since he livestreamed it on
       November 10. His popularity can, in part, be attributed to sharing of his content
       by other misinformation superspreaders, including QAnon-affiliated lawyer
       Sidney Powell, who not only tweeted it to her one million-plus followers but
       also used Ayyadurai’s arguments as evidence in her so-called “Kraken” lawsuit
       attempting to overturn the election results in Georgia, a key swing state (see
       Figure 5.11).32




       Figure 5.11: Trump legal affiliate Sydney Powell tweets a link to Ayyadurai’s most popular YouTube
       video.




       5.7       Summary
       Our analysis suggests that the primary “influencers” in the online production
       and dissemination of false and misleading narratives about the 2020 election
       were verified, blue-check accounts belonging to partisan media outlets, social

204
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 19 of 88




                                                                         5.7. Summary


media influencers, and political figures. Though false narratives occasionally
gained traction on the political left, almost all of the most prominent repeat
spreaders—i.e., the accounts that seeded and disseminated multiple false claims
and narratives—belonged to conservative and/or pro-Trump individuals and
organizations. Members of the Trump campaign, including President Trump
and his adult sons, played a significant role in the spread of these narratives,
which converged around false and misleading claims of voter fraud and sought
to undermine trust in the results of the election. These narratives persisted
throughout our analysis, from August through December, and spread through
and across diverse social media platforms—and through the broader information
ecosystem, including cable news.




                                                                                   205
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 20 of 88




                               206
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 21 of 88




                                                                   Notes

 1. (page 182) We continued to track the spread of incidents through December
 12, 2020, approximately two weeks after our real-time analysis concluded.

 2. (page 182) We ran several collections in parallel, balancing terms across
 collections to reduce the impact of rate limits.

 3. (page 183) It was possible for one incident to be related to multiple themes
 that the EIP defined, which is why these sum to more than 153.

 4. (page 185) Nick Corasaniti, “Rudy Giuliani Sued by Dominion Voting Systems
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 5. (page 185) Saranac Hale Spencer, “Overblown Claims of ‘Bad Things’ at Philly
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 6. (page 185) Saranac Hale Spencer, “Pennsylvania Postal Worker Waffles on
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 7. (page 185) Jonathan Oosting, “Meet Michigan’s ‘dead’ voters. They’re quite
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 https         bridgemi com michigan-government meet-michigans-dead-voters-
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 8. (page 185) Samantha Putterman, “Video makes it look like left-leaning groups
 plotted post-election coup. That’s not the whole story,” PolitiFact, November
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5. Actors and Networks: Repeat Spreaders of Election Misinformation


       9. (page 185) Bethania Palma, “Viral Video Spreads Unfounded Claims about Rep.
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       https         snopes com ne s                pro ect-veritas-ilhan-omar

       10. (page 184) The network was generated from our larger Twitter data
       collection—the 859 million tweets we collected about the election and voting.
       This creates a stable network structure onto which we later mapped specific
       incidents.

       11. (page 184) We used the Louvain method for identifying communities in the
       network graph; see Wikipedia, s.v. “Louvain method,” last modified February 9,
       2021, 12:45 pm, https en ikipedia org iki Louvain method

       12. (page 186) We used a slightly abbreviated time window for this part of
       the analysis (than for calculating spread of the incidents), but due to the high
       thresholds for inclusion of nodes and edges, the structure is fairly stable and it
       is unlikely that influential nodes would shift from one community to another if
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       13. (page 186) Ian Kennedy, et al., “Emerging Narratives Around ‘Mail Dumping’
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       https        eipartnership net rapid-response mail-dumping

       14. (page 187) As we note in the section on Participatory Mis- and Disinformation
       in Chapter 4, many of the rank-and-file accounts on the political right viewed
       their participation in these false and misleading narratives as helping to expose
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       15. (page 187) Election Integrity Partnership Team, “Repeat Offenders: Voting
       Misinformation on Twitter in the 2020 United States Election,” Election Integrity
       Partnership, October 29, 2020,
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208
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                                                                              5.7. Summary


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 20. (page 194) Davey Alba, “Riled Up: Misinformation Stokes Calls for Violence
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 25. (page 196) Dellinger, “Twitter suspends ‘Gateway Pundit’ Jim Hoft.”
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      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 24 of 88




5. Actors and Networks: Repeat Spreaders of Election Misinformation


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210
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 25 of 88




                                                                        Chapter        6
                                                                     Policy

 6.1     Introduction
 Platform policies establish the rules of participation in social media communities.
 Recognizing the heightened rhetoric and the use of mis- and disinformation
 during the 2020 election, all of the major platforms made significant changes
 to election integrity policies, both as the campaigns kicked off and through
 the weeks after Election Day—policies that attempted to slow the spread of
 specific narratives and tactics that could potentially mislead or deceive the
 public, though the efforts were not always successful.
Throughout the election period, a team of EIP analysts evaluated platform
policies within three contexts:


    • Actors’ Content and Behavior: The content and behavior that platforms
      identify fall in or out of behavior that violates their policies.

    • Platform Actions: What moderation strategies are proportionate to deal
      with the actors’ content and behaviors.

    • Overall Communication of Platform Policies: How policies are communi-
      cated to the public clearly and transparently.


This chapter begins by briefly reviewing and comparing platform policy iter-
ations before and during the 2020 election. We then describe the primary
platform interventions, their strengths and weaknesses, and how they were
applied to the repeat spreaders in our dataset. From there we discuss misinfor-
mation problems that have no clear-cut policy solutions, and conclude with a
forward-looking assessment of areas for policy improvement.

                                        211
      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 26 of 88




6. Policy


       6.2      Social Media Platform Policy Evolution
       Major social media platforms such as Facebook, Twitter, YouTube, Pinterest, and
       TikTok introduced changes to their community standards in the months leading
       up to the election and in the aftermath. The timeline below shows the four
       phases that correspond with larger policy trends across multiple platforms:1

            • Phase 0: April 2019–August 2020. Some platforms introduced or up-
              dated their policies on election misinformation. However, the majority of
              platforms still had sparse, non-specific, or non-existent policies around
              election-related content.

            • Phase 1: September 2020. A number of platforms announced the first
              updates to election-specific policies: making large additions; adding more
              clarity and specificity; or stating clearly that they will label or remove
              content that delegitimizes the integrity of the election.

            • Phase 2: Early October 2020. A month before the election, platforms
              specified the media organizations they would rely on for determining when
              races are declared and emphasized removing content that intimidates
              voters or incites violence. However, they did not distinguish between
              general and specific calls to action.

            • Phase 3: Late October 2020. In the days leading up to the election, plat-
              forms previewed their Election Day plans. This included providing concrete
              examples of what labels on content discussing election results will look
              like.

            • Phase 4: Early November 2020 (post-election). Platforms released infor-
              mation about the content and behavior they saw and their moderation
              efforts on and after Election Day; some policies were updated to address
              post-election claims of election fraud.

       Early in the EIP’s research, we identified specific categories of potential election
       misinformation (see Chapter 1) and ranked policy comprehensiveness in each
       category.2 Table 6.1 on page 214 and 6.2 on page 215 illustrate the evolution
       of platforms’ policies: the first shows coverage in August 2020; the second
       shows where the policies stood as of October 28, 2020, right before the elec-
       tion. (Our methodology for platform evaluations—which focused on formal or
       publicly stated policies for addressing election misinformation—can be found in
       Appendix F on page 265.)
       There are two key findings from this analysis. First, platforms that already had
       election-related policies strengthened them, while platforms that went into the

212
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 27 of 88




                                                                                                      6.2. Social Media Platform Policy Evolution


                                                           Timeline of Platform Policy Updates
                     Phase 0                           Phase 1                         Phase 2                             Phase 3                          Phase 4



     10/21: Will label      8/5: Adds policy       Introduces           9/3:         10/7: Will remove          10/9: Prohibits      10/27: Will remove            11/12 & 12/18:
     state-controlled     prohibiting synthetic      policies      Creates “Civic       calls for voter       premature victory         incitement of             Both Twitter and
       media. Page          or manipulated      election-related    Participation     intimidation. Will        claims. Inserts     violence and include         Facebook release
      owners more           media. Expands          policies.     Misinformation”       label political         “friction,” e.g.,    panel with election             batches of
       transparent.      reporting options and                    policy. Will limit content after polls      pushing Quotes,        result info from the             statistical
       Clearer fact-         fact-checking.                      recommendations close and update              removing “liked/         AP. Does not             information about
     checking labels.    Working with partners                     about election-       labels when             followed by”        address premature          content moderation
      Bans ads that          to fight foreign                     related content.          winner           recommendations,         claims of victory.           and observed
       deter voting.          interference.                                              announced.           adding context to                                       behavior.
                                                                                                                     trends.




     Apr 2019                                                                                         Oct 2020                                 Nov 2020               Dec 2020


            Oct 2019              Aug 2020                            Sep 2020                                                 Oct 2020                      Nov 2020




   Introduces stand-             2/3:       Updates        9/3: Will label      9/10: Will label or     10/7: Will reduce        10/28: States    11/2: Updates      12/9: Announces
  alone civic Integrity        Will limit                   content that         remove content         discoverability for      authoritative to provide more          termination of
                                           policies to
     policy. Prohibits   recommendations                   delegitimizes           that causes          unverified claims,        sources for        context to       8000+ channels
   misleading voting                      cover more election result and
                            of borderline                                           confusion,         such as premature        calling election    tweets: will     since September.
    info, intimidation,     content and     types  of       candidates’            undermines           claims of victory.           results.    label some that         Will remove
  and false affiliation.   elevate news election-related premature claims        confidence, and       Accounts/devices                            make claims         videos alleging
  Violation may lead         publishers.    content.       of victory. Will       delegitimizes          that repeatedly                          about election      that widespread
   to tweet deletion,                                    remove posts that       election results.     violate policies will                          results.         fraud changed
  profile modification,                                     deter voting.        Labeled tweets            be banned.                             States official          election.
      or suspension.                                                              may have less                                                    sources for
                                                                                     visibility.                                                 election results.

         Icon Key:

                    Facebook               Pinterest              Nextdoor              Snapchat                    TikTok                 Twitter                   YouTube



 Figure 6.1: A timeline of the four phases of election policy introduced by the platforms in the
 lead-up to and after the 2020 election.



 election without any policies remained without them through the election, with
 the exception of Snapchat.3

 Second, many platform policy updates related to the 2020 election cycle focused
 far more on explicit topical content restrictions than on user behavior. After
 the discovery of Russian interference in the 2016 election, platforms focused on
 behavior, such as coordinated inauthentic behavior, rather than content.4 Even
 in 2020, Facebook’s first election policy announcement focused on its efforts
 to combat this behavior and “fight foreign interference.”5 Yet much of the
 misinformation in the 2020 election was pushed by authentic, domestic actors,
 and platforms shifted their focus to address downstream harms related to the
 content itself. As a result, most subsequent updates introduced policies related
 to specific content categories, such as claims of premature victory or posts that
 promote violence at the polls. The iterative nature of platform policies during
 the election season also indicates that, despite having seen certain narratives in
 previous elections that were predicted to appear again in 2020, many platforms
 did not proactively adapt policies to combat these narratives.

                                                                                                                                                                                         213
      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 28 of 88




6. Policy

                                                                                     Delegitimization
                               Procedural       Participation
                                                                       Fraud           of Election
                              Interference      Interference
                                                                                         Results
                                                                                           Non-
            Facebook        Comprehensive      Comprehensive       Comprehensive
                                                                                     Comprehensive
                                                                        Non-               Non-
             Twitter        Comprehensive      Comprehensive
                                                                   Comprehensive     Comprehensive
                                                   Non-                 Non-               Non-
            YouTube         Comprehensive
                                               Comprehensive       Comprehensive     Comprehensive
                                                   Non-                 Non-               Non-
            Pinterest            None
                                               Comprehensive       Comprehensive     Comprehensive
                                                                        Non-
            Nextdoor        Comprehensive          None                                   None
                                                                   Comprehensive
                                Non-                                    Non-              Non-
             TikTok                                None
                            Comprehensive                          Comprehensive      Comprehensive
            Snapchat                              *No election-related policies
              Parler                              *No election-related policies
               Gab                                *No election-related policies
             Discord                              *No election-related policies
            WhatsApp                              *No election-related policies
            Telegram                              *No election-related policies
             Reddit                               *No election-related policies
             Twitch                               *No election-related policies

       Table 6.1: The EIP’s evaluation of platform policies as they stood in August 2020. A rating of
       “No election-related policies” means the platform has no explicit policy or stance on the issue;
       although the platform may have existing policies that address misleading content, we were unable
       to evaluate how they might apply in an election-related context. We grouped the 15th platform,
       Instagram, with Facebook, however it is not entirely clear to our team if every election-related
       policy update made by Facebook also applied to Instagram.




       6.3       Platform Interventions: Policy Approaches
                 and Application Outcomes
       In addition to tracking the evolution of content-based policy changes, the EIP
       examined the benefits and drawbacks of the tactics that platforms used to
       enforce their new policies: remove, reduce, and inform. These interventions
       encompass a spectrum of actions, from removing content and suspending users,
       to creating friction, to contextualizing with content labels.

       Ultimately, we find that platform intervention and users’ responses are part of a
       feedback loop: platforms’ observations of actions reveal the need for policies, and
       policies impact subsequent actions. From July to November, we watched policy
       shape users’ tactics, and users’ tactics impact policy. While this reciprocity can
       make it difficult to stop the spread of misinformation, it can also force platforms
       to fortify or adapt their policies.

214
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 29 of 88




                   6.3. Platform Interventions: Policy Approaches and Application Outcomes

                                                                                     Delegitimization
                          Procedural         Participation
                                                                      Fraud            of Election
                         Interference        Interference
                                                                                         Results
      Facebook          Comprehensive       Comprehensive       Comprehensive        Comprehensive
                                                                     Non-
       Twitter          Comprehensive       Comprehensive                             Comprehensive
                                                                Comprehensive
                                                                     Non-                 Non-
       YouTube          Comprehensive       Comprehensive
                                                                Comprehensive         Comprehensive
       Pinterest        Comprehensive       Comprehensive       Comprehensive         Comprehensive
                            Non-                Non-                 Non-                 Non-
      Nextdoor
                        Comprehensive       Comprehensive       Comprehensive         Comprehensive
                            Non-                Non-                 Non-
        TikTok                                                                        Comprehensive
                        Comprehensive       Comprehensive       Comprehensive
                            Non-                Non-                 Non-                 Non-
      Snapchat
                        Comprehensive       Comprehensive       Comprehensive         Comprehensive
        Parler                                 *No election-related policies
         Gab                                   *No election-related policies
       Discord                                 *No election-related policies
      WhatsApp                                 *No election-related policies
      Telegram                                 *No election-related policies
       Reddit                                  *No election-related policies
       Twitch                                  *No election-related policies

 Table 6.2: After multiple iterations of policy updates, the EIP’s final evaluation of platform policies
 as of October 28, 2020. Listings in red indicate a change in policy from the start of our monitoring
 period. We grouped the 15th platform, Instagram, with Facebook, however it is not entirely clear
 to our team if every election-related policy update made by Facebook also applied to Instagram.


 Platform Moderation Approach: Remove
The most punitive moderation tools at a platform’s disposal are content removal
and account suspensions. “Remove” can be applied to actors for several reasons:
accounts can be suspended for inauthentic identities, coordinated inauthentic
behavior, or repeatedly violating the community guidelines—such as the repeat
spreaders discussed in Chapter 5.
The intention behind this type of moderation is to prune false or misleading
information at its source. It is often used to address content that can have the
greatest real-world harm, and platforms were committed to removing calls for
interference in the election process that may lead to violence. In our dataset
of tickets, incitement to violence had the highest rate of content or account
removal.
Despite what appeared to be clear policy to penalize or remove repeat spreaders
and high-profile disinformation actors, platforms appeared to shy away from
using this particular intervention. In some cases, this was a result of a variety of
“newsworthiness” exceptions, which allowed some high-profile repeat spreaders,
including politicians, to evade bans.6 Yet many of the repeat spreaders we saw
were not politicians.

                                                                                                           215
      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 30 of 88




6. Policy


       Platform Moderation Approach: Reduce
       The second moderation intervention is to “reduce” the distribution of policy-
       violating content so that fewer users see it—to insert “friction.” This type of
       intervention may include methods such as downranking content so that it
       appears lower in a user’s feed or preventing sharing capabilities to reduce the
       spread of certain content.
       Several platforms employed friction leading up to the election. Twitter intro-
       duced a series of changes, including turning off the ability to reply, retweet,
       or like a tweet that violated the policy.7 Similarly, TikTok redirected search
       results and hashtags, such as #RiggedElection and #SharpieGate, that violated
       its community guidelines, preventing users from finding others who use the
       terms.8 Facebook supplied additional context to content-sharing features by
       warning people when they share old content links, a common pattern seen in
       misinformation. This Facebook product feature demonstrates how friction can
       also go hand in hand with informing users, discussed more below.9
       Policies introducing friction can be particularly helpful around networked fram-
       ing, where platforms face not one piece of content but rather the conglomeration
       of often countless instances of misinformation or hard-to-verify information. If
       looked at like a narrative puzzle, individual pieces are less consequential than
       the whole image—platforms must have the insight to see the puzzle before
       it is formed. By expanding friction policies to address narratives rather than
       individual pieces of content, platforms stand a better chance at reducing the
       negative impact of networked framing.
       Although the EIP does not have insight into how well these friction-inducing
       policies reduced the spread of misinformation, Twitter stated that from October
       27, 2020, to November 11, 2020, they saw an estimated 29% decrease in quote
       tweets of labeled tweets, perhaps due in part to a prompt that warned people
       prior to sharing.10


       Platform Moderation Approach: Inform
       Content labels were the most commonly used policy intervention by Facebook
       during the 2020 election and were used by Twitter on approximately 300,000
       pieces of content.11 Though labels permit policy-violating content to stay on
       a platform, they may reduce distribution and alter how users interact with
       content.
       The EIP observed four distinct issues related to labeling practices during the
       2020 election. First, some platforms struggled to apply labels uniformly: content
       identical in substance was labeled in some instances but not others. Labels
       signal that something may be false or misleading. If some content is unla-

216
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 31 of 88




               6.3. Platform Interventions: Policy Approaches and Application Outcomes


 beled, it may give the impression that it might be true—an “implied truth ef-
 fect”—unintentionally giving credence to misleading content.12
Lack of uniform labeling leads to another challenge: mislabeling. Some platforms
use automated systems—AI—to detect and label content. However, AI sometimes
fails to distinguish between content that violates policies and content that
does not. For example, Facebook used AI to automatically label most election-
related content with a generic label: “Visit the Voting Information Center for
voting resources and official election updates.” While the AI did label some
content as false, the generic auto-label was applied more frequently. In fact,
content that would more appropriately be labeled as “false” was instead tagged
with the “Voting Information Center” label. The AI’s inability to distinguish
false or misleading content from general election-related commentary may
have diminished the value of Facebook’s labeling policy entirely. On balance,
AI-driven labeling is another flaw in platforms’ policy approach to identifying
misinformation.13
 Second, inconsistent label language and placement impedes platforms’ attempts
 to reduce the spread of misinformation. Varied language can inspire confusion
 and speculation about platforms’ intent, while problematic placement and design
 may obscure labels from view.
Inconsistent label language can be particularly problematic, especially against
the backdrop of an ongoing, hyperpartisan battle over content moderation. For
example, in May 2019, Twitter marked a handful of President Trump’s tweets with
a relatively neutral label: “Get the facts about mail-in ballots.” But in October,
when President Trump tweeted similar content, Twitter changed the labels:
in contrast to the previous passive language, Twitter applied a label that read,
“Learn how voting by mail is safe and secure,” complete with an embedded link
to voting resources.14




 Figure 6.2: President Trump’s tweets, both violative of Twitter’s civic integrity policy, labeled with
 different language.

 However, the shift occurred without explanation from Twitter, and repeat

                                                                                                          217
      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 32 of 88




6. Policy


       spreaders speculated about Twitter’s purported political agenda in its wake.
       While changes in label language are appropriate responses to misinformation,
       lack of context and documentation of these changes, or confusing rollouts, may
       trigger distrust, leading users and media outlets to speculate about a platform’s
       motives rather than consider the veracity of the content.15 Notably, subsequent
       updates to Twitter’s label language, such as those responding to official election
       results, came with official statements that previewed what these labels would
       look like.16
       Similarly, label location is a notable design weakness: because location is not
       mandated by policy, aesthetics seems to be the primary concern. Thus, some
       platforms put labels below the flagged content instead of directly above it.
       Because users have varied hardware and personalized software (e.g., text size,
       speech-to-text), labels placed on the bottom may appear off-screen—or content
       could be screen-captured without its bottom label and shared as if it had not
       received a label at all. Further, users may click away from the post before even
       seeing a label at the bottom. Although we cannot say with certainty whether
       labels are effective measures of deterring users’ belief in misinformation, placing
       labels at the bottom of misleading posts risks the foreclosure of any possibility
       of deterrence.
       Third, the EIP additionally observed that when platforms were slow to label,
       misinformation spread quickly, achieving wide distribution before a platform
       took action. Difficulty with fact-checking and verification, among other issues,
       often gave repeat spreaders with large followings the space to quickly circulate
       false narratives as platforms deliberated the appropriate response. For example,
       Twitter permitted a number of Trump’s misinformation-riddled tweets to go
       unlabeled for several hours after they appeared on his timeline. Between the
       time of posting and the label’s application, Trump’s tweets were retweeted,
       quote tweeted, and shared tens of thousands of times.17
       Finally, the EIP observed inconsistency of label implementation between plat-
       forms, even when they shared similar content-labeling policies. This is one
       component of the cross-platform dynamic identified in previous chapters. Ul-
       timately, discrepancy in labeling across platforms creates an opportunity for
       misinformation to thrive. People are users on multiple platforms, and are thus
       forced to determine what the presence or absence of a label on one platform
       versus another means about the truth of election-related content.


       Platform Interventions vs. Repeat Spreaders and Influencers
       As Chapter 4 and 5 lay out, the structure of mis- and disinformation includes both
       top-down prominent accounts as well as bottom-up participation. In the 2020
       election, repeat spreaders played a key role in both elevating crowd-sourced

218
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 33 of 88




             6.3. Platform Interventions: Policy Approaches and Application Outcomes


 stories and providing a frame to interpret them. This section highlights how
 platform policies set the rules for engagement, and how gaps in policies can be
 exploited by repeat spreaders.


 Repeat spreaders sometimes face consequences for their violations, such as
 content labels or removal, after platforms take the user’s history and the severity
 of infringement into account. However, in the dataset of repeat spreaders
 introduced in Chapter 5 we saw that very few Twitter accounts were actually
 removed—only four including President Trump’s as of February 2021—and that
 many of them are still active on other platforms. Additionally, the proliferation
 of misleading and false narratives suggests that the policy interventions outlined
 above were not successful.


Central to this issue is that repeat spreader policies are not clear in two key
ways. First, the majority of platforms do not publicly communicate the number
of offenses a user must commit before they will take action on the user’s entire
account (e.g., suspension), not just on their content (e.g., labeling) . While
platforms like Facebook have an internal strike system for offenses, at the time
of the election YouTube was the only platform that, in the form of its three-strike
rule, publicly placed clear limits.18 The lack of transparency means that we also
do not know the type of action to expect against an account after a certain
number of violations. We do not know, for example, when a suspension will be
temporary versus permanent.


Second, it is also unclear how public interest exemptions may play into repeat
spreader policies. Platforms such as Twitter and Facebook have policies that
exempt certain content from elected and government officials from being re-
moved;19 however, we do not know if or when a government official account
would be suspended if it repeatedly violates platform policy. For example, Twit-
ter labeled half of newly elected Representative Marjorie Taylor Green’s tweets
after the polls closed on Election Day, without moving to suspend her (see
Figure 6.3 on the following page). 20


After the insurrection of the US Capitol on January 6, one of the most prominent
repeat spreaders, President Trump, was suspended from a number of platforms;
Twitter permanently suspended his account on January 8.21 Four days later,
Twitter introduced a detailed strike system specifically for the civic integrity
policy.22 It is unclear if Twitter has applied this new policy since its creation,
or if they will expand its strike system to other policy areas, such as COVID-
19 misinformation. However, this new policy reflects a robust adaptation for
responding to repeat spreaders.

                                                                                       219
      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 34 of 88




6. Policy




       Figure 6.3: A sample of tweets by Representative Majorie Taylor Green on November 4, 2020.
       (Note: these are selected tweets, not an image of her timeline. Some of her tweets in this short
       time period were not labeled.)




       6.4       Mis- and Disinformation Problems Without
                 Clear Policy Solutions
       Even with these policies in place, with full and consistent implementation, other
       obstacles to preventing and containing the spread of mis- and disinformation
       exist. As platforms, researchers, and official policymakers work to protect
       the integrity of our elections, it is important to recognize those obstacles for
       which, at this moment, there may be no clear policy solution. These include
       cross-platform complexities, the use of non-falsifiable content, backlash against
       platform interventions (“techlash”), and organized outrage.

220
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 35 of 88




                6.4. Mis- and Disinformation Problems Without Clear Policy Solutions


 Cross-Platform Complexities
 Much of what we have discussed up to this point relates to policy challenges
 faced by each individual platform. However, as discussed in Chapters 4 and 5,
 the platforms, combined, form an information ecosystem through which content
 moves; therefore, the cross-platform spread of misinformation cannot be solved
 through intervention by one platform alone. Prior to the 2020 election, US
 government agencies and several platforms met periodically to communicate
 the standards and observations of internal trust and safety teams, which resulted
 in a joint statement noting the collaborative work.23 However, while the group
 committed to discuss active threats throughout and following the election, it
 remained the responsibility of each company to enforce measures to mitigate
 misinformation. Ultimately, platforms do not transparently outline nor allow
 independent assessment of how they engage in sector-specific, cross-platform
 information sharing.
Important legal ramifications such as user privacy and antitrust laws make this
collaborative environment difficult. Another challenge is that some platforms,
such as Parler and Gab, do not have content moderation policies or even inten-
tions to moderate. Lastly, as legal scholar Evelyn Douek outlines in her work
“The Rise of Content Cartels,” there are drawbacks to private corporations set-
ting the rules of permissible speech across platforms, regardless of how effective
they may be.24


 Use of Non-Falsifiable Content
The election information ecosystem was replete with non-falsifiable claims—
such as those from anonymous whistleblowers or a “friend of a friend.” These
claims can be the most difficult to fact-check, and the current policies in place
are insufficient to fully address hard-to-verify content.
Platforms use fact-checking partners to surface and verify false statements,
but unfalsifiable information can easily fall through the cracks. Facebook’s
fact-checking program, for example, identifies and addresses “particularly clear
hoaxes that have no basis in fact”—a relatively strict threshold of falsifiability—
and “is not meant to interfere with individual expression” on the platform.25
The problem lies, however, at the intersection of falsehood and personal experi-
ence, forcing platforms to either over moderate at the risk of removing personal
content that is unfalsifiable, or under moderate and allow this potentially mis-
leading material to proliferate. Some platforms such as TikTok are developing
mechanisms to limit the distribution of claims that can’t be verified or when
fact-checking is rendered inconclusive.26 These mechanisms are important, but
they need to be enforced quickly and at scale. Actors will continue to frame
misinformation as personal and unfalsifiable experiences, some for political

                                                                                      221
      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 36 of 88




6. Policy


       gain, as long as the unverified-content gray area exists in platform policies and
       actions.


       Techlash Against Policy Interventions
       As fact-checking becomes increasingly important to the information ecosystem,
       platform interventions have often received a “techlash,” and accusations of
       censorship, mostly from the conservative right.27 For example, after a slew of
       Marjorie Taylor Greene’s posts were labeled as disputed and possibly misleading,
       as described above, Greene posted a claim that Twitter had “censored” her; she
       included a screenshot of the “censored” tweets.28 In some cases, platform fact-
       checking labels were weaponized to make the case that platforms allegedly have
       political agendas, and thus the fact-checks should be considered untrustworthy
       and disregarded. EIP analysts observed that when some accounts were removed,
       the account’s followers expressed that the mere fact of its removal was proof
       of a greater conspiracy to “cover up the truth.” This appeared to contribute to
       meta-misinformation about the intentions of the platforms. Continued lack of
       transparency and perceived inconsistencies behind account takedowns may
       further entangle platforms with the narratives they hoped to nix.




       Figure 6.4: This tweet from Congressman Kevin McCarthy demonstrates the backlash to platform
       action against one of President Trump’s tweets (first reported in the Washington Post on June 23,
       2020)29

       In some respects, these continued claims of platform censorship have fuelled
       the movement of influencers to smaller, obscure, or specialized platforms like
       Parler, where there is less moderation and far fewer fact-checks.

222
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 37 of 88




                                              6.5. Primary Areas for Policy Improvement


 Organized Outrage
 Social media plays a critical role in facilitating legitimate protest. However,
 features such as Groups, event pages, and hashtags can be used to spread
 misinformation and stoke outrage to galvanize offline action. In the 2020 elec-
 tion, protesters, motivated by election misinformation and conspiracy theo-
 ries, swarmed polling locations and chanted hashtags they read online, such as
 #Sharpiegate and #StoptheSteal.
This organized outrage raises the question of how platforms can proactively
identify which hashtags or speech are likely to result in organizing offline action
with the potential for violence. While applying a label can create friction before
content gains enough attention to incite offline action, platforms may struggle
to move beyond the reactive and to have the political and cultural expertise to
quickly and effectively contextualize hashtags, Groups, and event pages.
As the insurrection of the US Capitol on January 6 demonstrates, the organiz-
ing leading up to the violent acts took place on multiple platforms. Facebook
provided a unifying feature in the form of Groups, which, like the other large
platforms, contributed to giving the outrage a shape and form even when the
Group was taken down. This event underscores the important need for plat-
forms to not only assess the calculus of what is actionable content but also
ensure that their policies are implemented.


 6.5       Primary Areas for Policy Improvement
 In addition to how policies are implemented, platforms’ methods of communi-
 cation and the transparency of their data are incredibly important to election-
 related policies. This section discusses how issues related to policy clarity and
 transparency at times undermined platforms’ goal of reducing the spread of mis-
 and disinformation.


 Clarity
 It is not enough simply to have a policy and a moderation regime in place; the
 community governed by the rules must understand both in order for them to
 be most effective. Despite improvements to policy comprehensiveness and
 a shift toward some proactive policy implementation ahead of the election,
 platforms struggled with straightforward policy language and centralizing all
 policy updates. With the exception of a few platforms, such as Twitter and
 Pinterest, platforms lacked a centralized location for all of their election-related
 policies. Instead, policies were spread across blog posts, excluded from formal
 community standards entirely, or disseminated in different sections of platforms’
 terms of service. Platforms also failed to announce policy updates uniformly.

                                                                                        223
      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 38 of 88




6. Policy


       Some updates were announced through blog posts, some through the personal
       social media accounts of top executives, and some not at all.30
       The absence of a central and public mechanism to announce and host policy
       changes makes it difficult to track changes over time. Without clear documen-
       tation, policy changes run the risk of confusing users as to what is and is not
       permissible election-related speech.
       The presence of vague and undefined terms in policy language also poses a
       clarity problem. For example, in October 2020, TikTok updated its policy to
       prohibit any “attempts to intimidate voters or suppress voting.”31 Yet outside of
       general incitements to violence, TikTok did not sufficiently define what voter
       intimidation or voter suppression looks like on its platform. However, we recog-
       nize an encouraging trend: platforms are making more adjustments to improve
       clarity (at times successful, other times less so) from when they first began
       updating their policies. Ultimately, a focus on reducing generalized language
       and streamlining policy availability is a step in the right direction.


       Transparency
       Although the EIP could trace content, identify policy shifts, and engage with
       stakeholders, we were left trying to answer one particularly important question:
       are the intervention methods effective? And how do platforms measure that?
       While a number of internet platforms adopted election-related content labeling
       policies, those labels’ effectiveness in combating false narratives is difficult for
       external researchers to assess. As of December 2020,32 most major platforms
       had not released data about the volume and consistency of labeled content.
       Without information about where labels appeared, who interacted with those
       labels, and what those interactions could imply, researchers are left to formulate
       a best guess about the effectiveness of platforms’ most substantial intervention
       effort. One study asserts that the universality of label application is necessary
       to avoid the “implied truth effect”; however, it is impossible to replicate in
       the wake of the 2020 election, and restricted access to platform data impedes
       any further study. Over the past two years, many platforms have continued
       to limit access to and the functionality of their public application interfaces
       (APIs),33 and while their large-scale instructed datasets, or adaptive algorithms,
       can provide important insights into the online information ecosystem, these
       datasets are often compiled behind closed doors. This raises concerns about the
       independence, exhaustiveness, and validity of research and monitoring activities
       that rely solely on this data.
       Increasing transparency in moderation practices will increase public auditability
       and the subsequent perceived legitimacy of platform decisions. As the presence
       of mis- and disinformation online is not likely to decrease in the coming years,

224
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 39 of 88




                                                    6.6. Platform Policy Moving Forward


 transparency is a prerequisite for any platform seeking to effectively intervene
 in its influence.


 6.6     Platform Policy Moving Forward
 Policy shapes the propagation of information by impacting what content is
 permitted, and to what extent it receives widespread distribution. As we have
 discussed, the major social platforms recognized the risks of election misinforma-
 tion and adjusted their policies in several key ways to try to prevent misleading
 narratives from taking hold, or violence from occurring. They moderated by
 removing misleading or false content, reducing its distribution, and informing
 and contextualizing content for users. Despite these efforts, accounts with large
 and loyal audiences repeatedly took advantage of gaps in platform policy: repeat
 spreaders packaged false claims of voter fraud into hard-to-verify narratives
 that escaped timely fact-checks, and President Donald Trump himself—covered
 under a newsworthiness exemption—was a key player in the incitement that
 ultimately led to violence at the Capitol on January 6, 2021.34 The consequences
 for repeatedly violating platform policy did not appear to deter these actors, in
 part because the consequences themselves were inconsistently applied.
 In a remarkable turn of events, Twitter removed the sitting President of the
 United States from its platform on January 8. After the insurrection at the
 Capitol, platforms suspended President Trump’s account, and thousands of
 others, for “risk of future incitement of violence.”35 This action has sparked a
 public conversation about policy and power, including a broader discussion of
 how to weigh the need to remove accounts spreading misinformation—including,
 at times, those of democratically elected politicians—against stifling legitimate
 discourse and free expression.
Ultimately, it is impossible to separate the events at the Capitol on January 6 from
the narratives around voter fraud and a rigged election that began much earlier.
As online speech turned into offline action, platform policy was the one line
of defense, outside of the partisan leadership fuelling the misinformation, that
could deter this progression. Given the significant decision to suspend a sitting
(albeit outgoing) president’s accounts on Instagram and Facebook indefinitely,
Facebook has referred its action to the Oversight Board.36 The decision will most
likely not only shape future platform policy decisions concerning politicians
in the US but also set a precedent for how to approach the accounts of other
global leaders.
There isn’t a simple panacea for these policy weaknesses. Content moderation
policies will continue to evolve, as they have after the January 6 insurrection at
the Capitol. The next election will have its own unique set of misinformation
narratives, yet many of the tactics, dynamics, and basic structures of these narra-

                                                                                       225
      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 40 of 88




6. Policy


       tives will likely remain the same. Therefore, platforms must set pre-established,
       clear, and transparent rules rather than waiting to react to events as they unfold.
       In the next chapter we discuss specific recommendations for policymakers in
       light of the narrative, tactical, and policy findings in this report.




226
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 41 of 88




                                                                    Notes

 1. (page 212) The platforms evaluated during the EIP’s operation include: Face-
 book, Instagram, Twitter, YouTube, Pinterest, Nextdoor, TikTok, Snapchat, Par-
 ler, Gab, Discord, WhatsApp, Telegram, Reddit, and Twitch. Twitch was added
 to our list during our blog post update in October.
 2. (page 212) “Evaluating Election-Related Platform Speech Policies,” Election
 Integrity Partnership, October 28, 2020, https        eipartnership net policy-
 analysis platform-policies
 3. (page 213) “Community Guidelines,” Snap Inc., accessed February 10, 2021,
 https        snap com en-US community-guidelines
 4. (page 213) Nathaniel Gleicher, “Coordinated Inauthentic Behavior Explained,”
 Facebook Newsroom, December 6, 2018, https about fb com ne s
  inside-feed-coordinated-inauthentic-behavior
 5. (page 213) Guy Rosen, et al., “Helping to Protect the 2020 US Elections,”
 Facebook News, updated January 27, 2020, https about fb com ne s
 update-on-election-integrity-efforts
6. (page 215) Platforms such as Facebook, Twitter, YouTube, and TikTok have a
“newsworthiness” policy that allows content otherwise in violation of platforms’
community standards to stay up if it is newsworthy and in the public interest.
On Facebook and Twitter, this exception is limited to posts made by politicians.
On TikTok and YouTube, the scope of this policy is a little more vague, and
generally applies to “educational, documentary, scientific, or artistic content,
satirical content, content in fictional settings, counterspeech, and content in the
public interest that is newsworthy or otherwise enables individual expression
on topics of social importance.” See “Facebook, Elections and Political Political
Speech,” Facebook News, September 24, 2019, https about fb com ne s
    elections-and-political-speech ; “About public-interest exceptions on Twitter,”

                                       227
      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 42 of 88




6. Policy


       Twitter Help Center, accessed February 10, 2021, https help t itter com en
       rules-and-policies public-interest; and “Community Guidelines,” TikTok, updated
       December 2020, https            tiktok com community-guidelines
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       in the absence of publicly available “click” data and reveals nothing about users’

230
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 45 of 88




                                                 6.6. Platform Policy Moving Forward


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Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 46 of 88




                               232
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 47 of 88




                                                                        Chapter        7
                   Responses, Mitigations and
                                 Future Work

7.1      Introduction
The Election Integrity Partnership was born out of a collective challenge. The re-
sponsibility of mitigating election-related mis- and disinformation is shared, and
thus the observations and recommendations in this chapter span government,
media, social media platforms, and civil society, and the organizing functions
between each.
There isn’t any single catch-all policy that will rid elections—much less
democracy—of false or misleading information. However, institutions and in-
dividuals responsible for election processes, or responsible for portions of the
information ecosystem, can each adopt policies (some modest, some transfor-
mative), to build more resilience to misinformation.
 Doing nothing is not an option. A government by and for the people depends on
 the people coming together around trustworthy information in order to make
 informed decisions—including around electing leaders. There is no doubt of the
 causal impact mis- and disinformation about the 2020 US elections played in the
 violent insurrection at the United States Capitol on January 6, 2021. Not pursuing
 structural policy change will accelerate our country’s slide toward extremism,
 erode our shared national and inclusive identity, and propel yet more individuals
 toward radicalization via mis- and disinformation. The problem is larger than
 elections: it spans politics, self-governance, and critical policy areas, including
 public health.
 In many ways, the Election Integrity Partnership was inspired by past recom-
 mendations for addressing election-related vulnerabilities. For example, the

                                        233
      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 48 of 88




7. Responses, Mitigations and Future Work


       Senate Select Committee on Intelligence’s second of a five-volume report on
       foreign-based disinformation, published in 2019, included a bipartisan recom-
       mendation:

             The Committee recommends that social media companies work to
             facilitate greater information sharing between the public and private
             sector, and among the social companies themselves about malicious
             activity and platform vulnerabilities that are exploited to spread
             disinformation. Formalized mechanisms for collaboration that fa-
             cilitate content sharing among the social media platforms in order
             to defend against foreign disinformation, as occurred with vio-
             lent extremist content online, should be fostered. As researchers
             have concluded: “Many disinformation campaigns and cyber threats
             do not just manipulate one platform; the information moves across
             various platforms or a cyber-attack threatens multiple companies’
             network security and data integrity. There must be greater cooper-
             ation within the tech sector and between the tech sector and other
             stakeholders to address these issues.”1 (Emphasis added.)

       The Election Integrity Partnership was designed to do just that: formalize collab-
       oration among organizations to protect against misinformation. The recommen-
       dations in this chapter are tailored to the Election Integrity Partnership’s scope,
       specifically, identifying and mitigating misinformation related to US elections.
       However, many of them have broader potential in building toward a normative
       approach for elections, social media, and information access in free and open
       societies.


       7.2     Government
       While the responsibility for accurate information is spread across society, the
       responsibility for protecting elections is singularly that of the government. This
       set of broad recommendations spans a complex system of state and local election
       systems feeding into the federal system and focuses on dual responsibilities of
       facilitating and providing information about elections.

       The Executive Branch
          • Strengthen interagency coordination by elevating election security as a
            national security priority and reaffirming the critical infrastructure desig-
            nation for election systems, allowing the Cybersecurity and Infrastructure
            Security Agency (CISA) to further prioritize resources and support to state
            and local officials.

234
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 49 of 88




                                                                       7.2. Government


   • Solidify clear interagency leadership roles and responsibilities. CISA should
     remain the lead on domestic vulnerabilities and coordination with state and
     local election officials; the Office of the Director of National Intelligence
     should coordinate intelligence assessments and lead the Intelligence Com-
     munity on foreign-based threats; the Department of Justice and Federal
     Bureau of Investigation should maintain investigation and law enforcement
     leadership for domestic and international threats. The Election Assistance
     Commission should remain in an amplifying role, pushing best practices
     and critical information out broadly to the election community.

   • Create standards and mechanisms for consistent disclosures of mis- and
     disinformation from foreign and domestic sources, including via CISA’s
     Rumor Control and joint interagency statements related to foreign-based
     threats.2

   • Maintain a threat assessment of the current election mis- and disinforma-
     tion state of play, informed by collaboration with social media platforms.
     Update this assessment during federal election cycles and release it to
     election officials, social media platforms, civil society, and members of the
     media.


 Congress
   • Election security should be prioritized over politics. Make best efforts
     to separate the substantive and critical issue of election security from
     the electoral politics that every member of Congress is engaged in during
     each election. For example, Congress should authorize all non-emergency
     election-related bills one year prior to the next regular election.

   • Pass existing bipartisan proposals with increased appropriations marked
     for federal and state election security, specifically resources for federal
     agencies directly engaged in election security and more broadly toward
     providing coordinated election security assistance and support to state
     and local officials (see next section).

   • Codify the Senate Select Committee on Intelligence’s bipartisan recom-
     mendations on depolarization and public official conduct, as noted in
     Volumes 3 and 5 of the Committee’s exhaustive report on foreign influence
     in the 2016 election.3

   • Strengthen digital expertise at federal regulators with election-related
     jurisdictions, including the Federal Elections Commission and Federal Com-
     munications Commission, to improve enforcement of existing regulations.

                                                                                     235
      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 50 of 88




7. Responses, Mitigations and Future Work


       State and Local Officials
       Prepare a tiered communications plan that includes:


          • A start-to-finish story for each voter’s ballot. This should include infor-
            mation about how to register to vote; ensuring one’s registration is up to
            date; where, when, and how to vote; and how votes will be counted and
            reported, including the timing of that process.

          • Processes for reporting misinformation to social media platforms and
            government partners.

          • Establish trusted channels of communication with voters. This should
            include a .gov website and use of both traditional media and social media.
            This effort should include:

          • A single authoritative source (webpage or social media account) for election
            information. That source’s information should be specific to each election
            and regularly updated; it should also provide data and evidence regarding
            the security and integrity of the election.

          • Ensure that all votes cast are on auditable paper records. Post-election
            audits should be conducted after each election.


       7.3     Media
       Traditional media remains the primary means of information distribution in the
       United States. As such, newsrooms have an obligation, rooted in traditional
       journalism ethics and practices, to accurately and ethically cover election topics,
       including election misinformation. This task has been complicated by a loss of
       journalism revenue to social media companies and growing competition with
       hyperpartisan news sources for reader attention. The following recommen-
       dations are for journalists and media professionals covering election-related
       misinformation.


       Newsrooms
          • Prepare journalists to encounter mis- and disinformation. This training
            should include accepted definitions, attribution standards, how to avoid
            inadvertent amplification, and more.

          • Coordinate reporting across beats in the newsroom. Election reporting re-
            lies on a combination of campaign embeds, White House and congressional

236
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 51 of 88




                                7.4. Social Media Platforms and Technology Companies


      reporters, national security reporters, technology reporters, and others.
      Organizations should handle misinformation uniformly and professionally.

    • Anticipate misinformation (“threatcasting”) and establish guidelines for
      combating it (for example, the Washington Post’s guidance on hacked
      material or Buzzfeed’s guidance on QAnon descriptions).4

    • Formulate proactive communications for instances when genuine report-
      ing is labeled “fake news” or disinformation. Newsrooms should address
      the issue but not accept the premise of the charge.

    • For written media, avoid headlines that mischaracterize or hyperbolize
      reporting, especially in breaking news events like elections. Include the
      fact-check in the headline when possible, e.g., “Trump Falsely Declared
      Victory.”


 News Studies and Research

    • Develop a wider vocabulary for differentiating between traditional news
      media and hyperpartisan or unreliable news. A new lexicon could help
      social media sites better label information.

    • Develop case studies on misinformation coverage (good and bad) of the
      2020 election to educate and inform current and upcoming journalists.


7.4      Social Media Platforms and Technology
         Companies
 In their relatively brief existence, social media platforms have become a critical
 part of the democratic process, facilitating political organizing, citizen engage-
 ment, campaign communications, and overall information access. Mitigating
 election-related misinformation in this space is particularly challenging given
 the distributed nature of the social media ecosystem—anyone with internet
 access can consume content and post their own—and the speed by which unver-
 ified or unverifiable information can spread. As it stands, there is a high degree
 of variance in how social media platforms address misinformation, the resources
 they devote to combating it, and their technical policy options. Social media
 platforms won’t be able to root out election-related misinformation entirely, but
 these policy recommendations can help. The following recommendations for
 platforms are more lengthy and specific than previous sections because this
 area currently has the fewest normative practices compared to the others.

                                                                                      237
      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 52 of 88




7. Responses, Mitigations and Future Work


       Accessibility

          • Tell users about a platform’s misinformation policies. In addition to the
            policies themselves, platforms should provide both rationales and case
            studies. Policies specific to an event or topic (e.g., elections, COVID-19)
            should be grouped in one location.

          • Provide proactive information regarding anticipated election misinforma-
            tion. For example, if researchers expect a narrative will emerge, platforms
            should explain that narrative’s history or provide fact-checks or context
            related to its prior iterations.


       Transparency

          • Share platform research on misinformation counter-measures with aca-
            demics, civil society and the public. Where counter-measures have been
            effective, reveal that; where they have fallen short, reveal that as well. If
            efficacy is unknown, take steps to determine it.

          • Enable access for external researchers to removed or labeled content,
            including exhaustive and rapid search capabilities.

          • Partner with civil society organizations. Listen to their suggestions and
            support them when possible.

          • Provide greater transparency about why something is removed or censored.
            Sharing the evidence to support why the content was taken down would
            be helpful for researchers as well as the public.


       Cross-Platform Communications

          • Support independent cross-platform coalitions that track cross-platform
            misinformation. These coalitions can focus on specific topics (such as
            vaccine disinformation) or regions and can coordinate with government
            officials and civil society to respond to growing narratives.


       Policy on Repeat Spreaders

          • Establish clear consequences for accounts that repeatedly violate platform
            policies. These accounts could be placed on explicit probationary status,
            or a mixture of monitoring and sanctions.

238
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 53 of 88




                               7.4. Social Media Platforms and Technology Companies


   • Publicize the different thresholds of policy offenses. For example, YouTube
     and Twitter use a strike system. Any such system should transparently
     represent to users their current status and should describe what counts
     as a strike against monetization, or leads to suspension.
   • Prioritize quicker action on verified or influential accounts if they have
     already violated platform policies in the past.
   • Consider implementing holding areas for content from high-visibility re-
     peat spreaders, where content can be evaluated against policy before
     posting.
   • Reevaluate policies related to blue-check influencers with significant reach,
     particularly on issues such as incitement to violence. These accounts
     should arguably be held more stringently to stated policies than the average
     user—rather than receiving repeated exemptions—because of the amount
     of attention they command and action they potentially drive.

 Policy Enforcement
   • Ensure platform labels are consistently applied to all product features,
     including ephemeral content such as stories or livestreams.
   • Labels should make clear which policy the content violates.
   • Partner with civil society organizations to localize fact-checks and labels ,
     especially in non-English languages or niche communities.
   • Apply an interim label to content that is in the queue for fact-checkers,
     or is tied to an emerging event, noting that it should be approached with
     caution. For content that recurs, a label can link to a page that discusses
     previous variations of the claim.
   • Anticipate misinformation where possible, particularly surrounding pivotal
     events such as elections. Revisit applicable policies in advance.

 Election-Specific Policies
   • Specify election-specific policies’ duration and geographic jurisdiction.
   • For US elections, anticipate state-level premature claims of victory.
   • Prioritize election officials’ efforts to educate voters within their jurisdic-
     tion and respond to misinformation. This could include the promotion of
     content from election officials through curation or advertisement credits,
     especially in the lead-up to Election Day.

                                                                                       239
      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 54 of 88




7. Responses, Mitigations and Future Work


       7.5     Civil Society
       Civil society in the United States plays an essential role in the process and
       functions of elections, as well as in the accountability of institutions directly
       responsible for the stewardship of American democracy and the information
       environment that facilitates it. Civil society includes a wide range of actors from
       academia, public interest groups, community leaders, faith-based groups, and
       other non-governmental organizations. Most notably, civil society has led in
       providing better understanding and best practices regarding election-related
       misinformation and can continue to play a leading role in building resilience to
       it in the long term.


       Overarching
          • Disclose methodology and standards for technical research. Incomplete,
            misleading, or false findings, even when well intentioned, often exacerbate
            the problem, especially in fast-moving information environments around
            elections.

          • Similar to the recommendation made to media organizations, increase
            awareness about misinformation and coordinate among civil society groups
            with varied expertise on elections.

          • Where misinformation is pervasive and touches on many topics, clearly
            communicate the scope of engagement on the issue. As an example, the
            Election Integrity Partnership’s scope was narrowly focused on misinfor-
            mation related to the process and results of the 2020 US elections, as
            opposed to false information in American political discourse more broadly.


       7.6     Conclusion
       The 2020 election demonstrated that actors—both foreign and domestic—remain
       committed to weaponizing viral false and misleading narratives to undermine
       confidence in the US electoral system and Americans’ faith in our democracy.
       Mis- and disinformation warped the country’s public discourse both before
       and after Election Day, spreading through online communities across all social
       platforms. Influencers and hyperpartisan media cultivated loyal, polarized audi-
       ences, forming echo chambers where narratives of massive fraud and a stolen
       election strengthened at each retelling. These narratives have consequences.
       On January 6, 2021, President Trump’s supporters stormed the Capitol in an
       attempt to prevent the finalization of the Electoral College results and the peace-
       ful transition of power. A small group of radicalized citizens had been repeatedly

240
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 55 of 88




                                                                          7.6. Conclusion


 told that the election’s results were fraudulent; they mobilized against their own
 democracy while claiming to protect it. A larger group watched those events
 and cheered; others concluded, despite MAGA hats and Trump flags, that the
 insurrection was the work of their political opponents.
 State and local election officials throughout the country and across the polit-
 ical spectrum worked hard to counter malign narratives. Tragedies such as
 the January 6 insurrection suggest that, despite their best efforts, democratic
 processes remain vulnerable. The events, narratives, and dynamics documented
 in this report underscore the need for a collective response to the false and
 misleading narratives that precipitated the attack.
The EIP was formed out of this conviction—that the challenge of misinforma-
tion is dynamic, networked, and resilient—and that to address it, we need to
act quickly and collectively. While the Partnership was intended to meet an
immediate need, the conditions that necessitated its creation have not abated,
and in fact may have gotten worse. Academia, platforms, civil society, and all
levels of government must be committed, in their own ways, to truth in the
service of a free and open society. All stakeholders should focus on predicting
and pre-bunking false narratives, detecting mis- and disinformation as it occurs,
and countering it when appropriate.
The EIP’s collaborative model was tailored toward a specific event—Election
2020—and designed specifically to aid election officials, election security stake-
holders, and civil society, but we believe the model could have further utility. As
our report reiterates, there are structural dynamics and policy frameworks in the
online information ecosystem that have long lent themselves to the viral spread
of false and misleading information and to the facilitation of polarized communi-
ties; addressing specific content is, in many ways, secondary to addressing these
infrastructure challenges. In the meantime, false and misleading narratives
proliferate about a wide variety of societally impactful topics. Shifting focus to
address specific other topics may require modification to the operation of the
Partnership, such as reallocating analytical resources and research cadence;
however, EIP’s novel structure, enabling rapid-response analysis and a multi-
stakeholder reporting infrastructure, could prove effective to many information
spaces blighted by pervasive misinformation.
In the end, we hope this report’s enduring value lies not just in its exposition of
this election story, but in its illumination of this overarching story—of declining
trust, weakened gatekeepers, social polarization, and the protean challenge of
viral misinformation amidst a skeptical and networked public. Given the enor-
mity of the challenge, we recognize the need for a whole-of-society response.
The EIP, in its structure and its operations, offered a first measure in service of
that call: it united government, academia, civil society, and industry, analyzing
across platforms, to address misinformation in real time. The lessons from EIP

                                                                                      241
      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 56 of 88




7. Responses, Mitigations and Future Work


       should be both learned and applied. The fight against misinformation is only
       beginning. The collective effort must continue.




242
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 57 of 88




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                                      243
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 58 of 88




                               244
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 59 of 88




                                                                                   Appendix            A
                                                                     Definitions

 Misinformation is information that is false, but not necessarily intentionally
 false.1 Misinformation is at times used as an umbrella category for false rumors,
 disinformation, and other types of false and misleading information.
Disinformation is false or misleading information that is purposefully seeded
and/or spread for an objective—e.g., a political or financial objective.2 Disinfor-
mation may mislead through its content, or may work by deceiving its audiences
about its origins, purpose, or the identity of those who produced it. It is often
built around a true or plausible core, layering factual information with small
falsehoods or exaggerations (see Bittman, 1985).3 It also typically functions as a
campaign—a set of information actions, rather than a single piece of content.
The key difference between disinformation and other forms of misinformation
is intent, in that disinformation is intentionally produced and/or spread. Often
as a disinformation campaign progresses, it incorporates unwitting participants
in its production and spread; therefore, not every entity that spreads disinfor-
mation does so with intent to deceive or knowledge that they are spreading
false or misleading content.4
Voter Fraud is the act of fraudulently voting. It includes voting on behalf of
someone else, voting when someone is ineligible, voting multiple times, etc. The
     1
       Caroline Jack, “Lexicon of lies: Terms for problematic information,” Data & Society Research
 Institute (2017): 3, 22, https datasociety net pubs oh Data ndSociety Le iconofLies pdf.
     2
       Jack, “Lexicon of lies: Terms for problematic information”; Kate Starbird, Ahmer Arif, and
 Tom Wilson, “Disinformation as collaborative work: Surfacing the participatory nature of strategic
 information operations,” Proceedings of the ACM on Human-Computer Interaction 3, issue CSCW
 (November 2019): 1-26, doi org                     .
     3
       Ladislav Bittman, The KGB and Soviet Disinformation: An Insider’s View (Washington:
 Pergamon-Brassey’s, 1985).
     4
       Bittman, The KGB and Soviet Disinformation: An Insider’s View; Kate Starbird, et al., “Disin-
 formation as collaborative work.”


                                                245
      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 60 of 88




A. Definitions


       term is often used—including within examples in this report—as a catchall for
       other types of election fraud. Research shows that voter fraud is extremely rare
       in the United States.5
       Election Fraud suggests a more systematic effort to change the results of an
       election. It includes orchestrating voter fraud at scale, illegally registering or
       illegally assisting large numbers of voters, altering vote counts through auto-
       matic or manual means, systematically removing or inserting large numbers of
       ballots to affect an election outcome, etc.
       Electoral Fraud is a broad term denoting “illegal interference in the process
       of voting.”6 Electoral fraud includes ballot stuffing, voter impersonation, vote
       buying, voter suppression, fraud by election officials, and various other mech-
       anisms of illegally impacting an election. Like “election fraud,” electoral fraud
       suggests efforts at a scale that could impact election results.
       Voter Suppression is the process of systematically reducing the ability of a spe-
       cific group of people to vote. It can work through efforts to make it physically
       harder to vote (fewer locations, limited time windows), through legal efforts that
       disenfranchise specific groups (e.g., former felons) and through other mecha-
       nisms, including intimidation. In the United States, voter suppression efforts
       often target Black Americans and other people of color.7
       Tickets were internal reports within the EIP system. They were submitted via
       “tips” from external partners in the government and civil society, or created
       through the EIP internal monitoring process. Once a ticket was submitted,
       our Tier 1 analysts would go through a systematic process to document the
       claim, determine if it was “in scope,” get a sense of where it was spreading, and
       attempt to assess the veracity of the underlying claims by locating an external
       fact-check from election officials, fact-checking organizations, local media,
       or mainstream outlets. For high priority, in-scope tickets, Tier 2 researchers
       conducted additional analysis, which included determining the origins of a
       piece of information, tracking its spread over time, and identifying additional
       fact-checks as they became available.
       A majority of tickets focused on false and/or misleading claims that functioned
       to diminish trust in election results. These included:

           • False claims and unsubstantiated conspiracy theories (e.g., that voting
             software switches votes without a trace).
           5
             “Debunking the Voter Fraud Myth,” Brennan Center for Justice, January 31, 2017,
       https         brennancenter org our- ork research-reports debunking-voter-fraud-myth.
           6
             Ballotpedia, s.v. “Electoral Fraud,” accessed February 10, 2021, https ballotpedia org Electoral
       fraud.
           7
             ACLU, “Block the Vote: Voter Suppression in 2020,” February 3, 2020, https              aclu org
       ne s civil-liberties block-the-vote-voter-suppression-in-        .


246
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 61 of 88




    • Factually valid claims taken out of context and framed in misleading ways
      to suggest massive voter fraud (e.g., that a large number of ballots had
      been found in a trash can, when in actuality the ballots were from 2018).

    • Content that amplified and exaggerated small issues (e.g., ballots stolen
      from a mailbox, discarded mail that contained a small number of ballots,
      issues with individual voting machines) to support the broader (false) nar-
      rative that results could not be trusted.


 Events are salient occurrences in our physical and/or social worlds. Events are
 typically bounded in time. We use this term to distinguish between the actual
 event (e.g., Sharpie pens bleeding through ballots) and the information incidents
 that feature elements of those events—though they may take shape and spread
 at different times.
(Information) Incidents are distinct information cascades that pertain to a
specific event or set of events. We use the term incidents to differentiate
between the original event and the subsequent discussion or discussions of
that event. Incidents often map to one or more narratives, where the details of
an event are mobilized to create or support a specific interpretation—or story
about the meaning—of that event.
 Narratives are stories that connect a series of related events or experiences.
 Like any good story, narratives typically have characters, scenes, times, and
 themes. They provide compelling interpretations that can help people make
 sense of events and experiences.
 Frames are mental schema that shape how people interpret events. Frames
 select and make salient some aspects of a situation—and obscure others. Robert
 Entman enumerates four functions of frames: defining a problem, diagnosing a
 cause, making a moral judgement, and suggesting remedies.8 Framing is the act
 of creating, refining, or challenging a frame. Framing can be used as a strategy
 to shape how others interpret a situation.
The “Big Lie”: Over the course of this project, a majority of the tickets we filed
and incidents we analyzed were related to a false metanarrative of massive voter
fraud (i.e., election fraud). This false metanarrative was introduced prior to our
project’s launch and continues to this day. It was present in President Trump’s
summer 2020 tweets claiming that the election would be “rigged” against him
and in his January 6, 2021, tweets claiming that the election had been stolen
from him. It took shape through a variety of false, misleading, and exaggerated
claims that functioned generally to sow distrust in the results—and specifically to
    8
    Robert M. Entman, “Framing: Toward Clarification of a Fractured Paradigm,” Journal of
 Communication 43, no. 4 (December 1993): 51-58; doi org           -          tb       .


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      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 62 of 88




A. Definitions


       support the allegation of massive voter fraud functioning to “steal” the election
       from candidate Trump. Looking across the breadth of the online activity to seed
       and spread these narratives, our research (and that of others; see Benkler et al.’s
       2020 paper9 ) has interpreted the “Big Lie” to be a participatory disinformation
       campaign that incorporated the efforts of President Trump, his family and close
       supporters, members of right-wing media, social media influencers, and his
       followers (many of them unwitting participants in this campaign).




          9
           Yochai Benkler et al., “Mail-in Voter Fraud: Anatomy of a Disinformation Campaign,” Berkman
       Center Research Publication No. 2020-6, Berkman Klein Center, October 2, 2020, doi org
         ssrn         .


248
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 63 of 88




                                                                                Appendix       B
                                      Inter-coder reliability



 B.1      Average Z-scores


  Survey Questions (in descending order by z-score)                       Z Score
  Other Facets: was there anything else notable about this ticket
                                                                                1.013260305
  not already covered above?
  Why was this ticket created?                                                  0.5973125198
  Was there a partisan focus on this ticket?                                  0.04870033315
  Process-based tags: what part of the electoral process is this
                                                                              0.04149633474
  ticket about?
  Specific Claims or Election-related narratives: is there a specific,
                                                                              0.03772808942
  recognizable claim that was used in this incident?
  What are the top-level buckets of this incident? Check all that
                                                                          -0.08453405504
  apply.
  What tactics were used to spread this content?                               -0.203993765
  What is the estimated number of engagements (cumulative social
  media shares, retweets, likes, reactions, comments) associated              -0.2505426778
  with the ticket?
  Character-based Tags: who or what is being implicated in this
                                                                              -0.2664116253
  incident?
  Is this a particularly important ticket that should be included in
                                                                              -0.7143693447
  the final report?
                   Table B.1: The average z-scores for each survey question


                                            249
      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 64 of 88




B. Inter-coder reliability


        B.2      Discordant Z-scores
         Survey Question                      Choice                                Z Score
                                              This content exaggerates the
         What tactics were used to
                                              impact of an issue within the         -2.868919023
         spread this content?
                                              election-process
         Specific Claims or
         Election-related narratives: is
         there a specific, recognizable       None of the above                      -2.41007974
         claim that was used in this
         incident?
         Character-based Tags: who or
         what is being implicated in this     Government Entities                    -1.971189991
         incident?
         What are the top-level buckets
         of this incident? Check all that     Fraud                                 -1.951240456
         apply.
         Character-based Tags: who or
         what is being implicated in this     Political affinity group               -1.911341388
         incident?
        Table B.2: From the above questions, choices that experienced the most discord among coders



        B.3      Concordant Z-scores
         Survey Question                      Choice                                Z Score
         Other Facets: was there anything
                                              Foreign interference
         else notable about this ticket not                                         1.240684993
                                              (Unfounded)
         already covered above?
         Other Facets: was there anything
         else notable about this ticket not   Foreign interference (Confirmed)       1.220735459
         already covered above?
         Other Facets: was there anything
         else notable about this ticket not   COVID related                          1.200785925
         already covered above?
         What tactics were used to
                                              Use of phishing emails or tests        1.180836391
         spread this content?
         What are the top-level buckets
         of this incident? Check all that     Premature Claims of Victory            1.140937323
         apply.
                         Table B.3: Questions that experienced the most agreement




250
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 65 of 88




                                                                    Appendix         C
                  Repeat Spreaders—
 Additional Partisan News Outlets in
                     the Twitter Data

The New York Post’s coverage served mainly to introduce narratives involving
election fraud, including reporting on unfounded allegations that deceased vot-
ers in New York had ballots cast on their behalf. Conservative news outlets DC
Patriot (9 incidents) and National Pulse (8 incidents) acted similarly in the pro-
motion of stories revolving around misplaced ballots (DC Patriot) and detailing
previous instances of fraud both domestic and foreign (National Pulse).

 JustTheNews, a news site run by conservative commentator John Solomon, pro-
 duced stories that applied political commentary to narratives asserting election
 fraud and was involved in spreading the Nevada Whistleblower narrative.URLs
 from the Washington Times appear in tweets related to three of the top incidents,
 reflecting their attention to widely followed election conspiracy theories.

 Domains associated with political conspiracy theories include ZeroHedge, which
 appeared in 10 incidents, which was involved in the spread of the Color Rev-
 olution narrative. The Epoch Times was cited in a range of misleading “voter
 fraud” narratives such as alleging that large numbers of people were voting twice
 and that discarded ballots were evidence of intentional fraud. The website also
 promoted content related to three large incidents—the Dominion conspiracy
 theory, and the Sharpiegate and Stop The Steal narratives.

The Fox News website, foxnews.com, was cited in a narrative regarding bal-
lots that went missing in the care of USPS and the spread of Biden’s mis-
contextualized statement regarding fraud protections. Articles for which Fox
News was cited often presented factual evidence of a real-world event with an

                                       251
      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 66 of 88




C. Repeat Spreaders—Additional Partisan News Outlets in the Twitter Data


       underlying subtext of election insecurity or widespread voter fraud that was
       picked up and made more explicit in the social media sphere. The spin-off site
       of Fox contributor Sara Carter (saraacarter.com) was involved in seven similar
       incidents resulting in over 80,000 retweets. Her content was often more explicit
       in falsely claiming widespread voter fraud—including a highly speculative article
       (now removed) that helped to feed the Dominion conspiracy theory.




252
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 67 of 88




                                                                     Appendix       D
                          Ticket Analysis Questions

 D.1 Tier 1 Analysis Questions
1: Overall Analyst Description: What is the content about? Provide a brief
description of the narrative being pushed and the tactics used to spread it
(platforms, assets, etc.) so that other analysts can understand the content at a
glance.
 2: Platform: What platform(s) does the content appear on? Include links or links
 to screenshots, if appropriate. What platforms has the content trended on?
 3: Language: What language(s) is the content written in?
 4: Content Assets: What type of media is included in the content?
 Examples:

      Contains video
      Contains image with text
      Contains image without text
      Template text (copy-paste)
      Unique text

 5a: Category: What EIP-defined categories of election interference does it fall
 under?
 Choose all that apply:

      Procedural Interference

                                       253
      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 68 of 88




D. Ticket Analysis Questions


            Participation Interference
            Fraud
            Delegitimization*

       5b: *If it’s delegitimization, what kind is it?
       6: Theme: What is the primary topic or theme of the content?

            Examples: VoteByMail
            USPS

       7: Target Community: What specific communities does the content target (if
       applicable)?

            This refers to the community whose voting ability or trust in the election
            process the content is designed to affect—not the community propa-
            gating the claim. Target communities can include seniors, teenagers,
            Latinx voters, QAnon, far left, far right, etc.

       8: State Targeted: What geographical area [state] does the content target (if
       applicable)?
       9: Account Type or Amplification: What kind of account is primarily responsible
       for spreading the content?

            Examples:
            Politician/candidate for office
            Influencer/verified account
            Organic account
            Seemingly inauthentic account
            Anonymous account

       10: Reach: What is the reach of the content at this time?

            How many shares does it have? How many replies or comments? How
            many likes? Use the following as approximate guidelines:

                • None: 0 engagements

254
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 69 of 88




                                                          D.2. Tier 2 Analysis Questions


         • Low: 1-10 engagements
         • Medium: 10-500 engagements
         • High: 500-1000 engagements
         • Viral: 1000+ engagements

 11: Velocity: What is the velocity of the content?

      Is the rate of spread of the content static, growing, or declining? Use
      the following as approximate guidelines:

         • Static: no change to reach
         • Growing: reach is growing linearly
         • Viral: reach is growing exponentially
         • Decreasing: reach is decreasing


 D.2 Tier 2 Analysis Questions
 12: What else do we know about the primary account sharing the content?
 Examples:

      25,000 followers
      Created in 2012

 13: What communities are sharing the content?
 Examples:

      Conspiratorial Instagram pages, Bernie-aligned Facebook groups

 14: What was the first account or Page to share the content (if not the account
 listed above)?
 15: Is there any evidence of coordination or inauthentic activity? Unusual
 tactics?
 16: To what extent is counter-messaging already underway? Has it been
 successful?
 16: Any additional notes about the user and related social accounts/websites
 discussed in the ticket?

                                                                                    255
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 70 of 88




                               256
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 71 of 88




                                                                       Appendix         E
         News Articles Citing the Election
                    Integrity Partnership

 News Articles citing the EIP during the active project period, listed in chrono-
 logical order:
 Route Fifty | Aug. 12, 2020: “New Coalition Wants to Help in Fight Against
 Election Misinformation”
 https        route-fifty com tech-data             election-integrity-partnership-
 misinformation-disinformation
 Stanford News | Sept. 28, 2020: “The 2020 U.S. election, issues and challenges”
 https   ne s stanford edu                      -u-s-election-issues-challenges
The New York Times | Sept. 28, 2020: “Editorial: What’s the Plan if Trump
Tweets That He’s Won Re-election?”
 https        nytimes com                 opinion social-media-trump-election html
The New York Times | Sept. 29, 2020: “Project Veritas Video Was a ‘Coordinated
Disinformation Campaign,’ Researchers Say”
 https        nytimes com                 us politics pro ect-veritas-ilhan-omar html
 Santa Rosa Press-Democrat | Sept. 30, 2020: “A tall tale about election fraud”
 https         pressdemocrat com article opinion pd-editorial-a-tall-tale-about-
 election-fraud
 Bloomberg News | Oct. 5, 2020: “Facebook, Twitter Are Failing to Curb Voting-
 By-Mail Falsehoods”
 https          bloomberg com ne s articles          -   -   facebook-t itter-are-
 failing-to-curb-voting-by-mail-falsehoods

                                          257
      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 72 of 88




E. News Articles Citing the Election Integrity Partnership


       Business Day (South Africa) | Oct. 5, 2020: “Facebook, Twitter have hands full
       with postal voting misinformation”
       https       businesslive co a bd orld americas           -     -   -facebook-t itter-
       have-hands-full- ith-postal-voting-misinformation
       The Washington Post | Oct. 8, 2020: “Facebook bans marketing firm running
       ‘troll farm’ for pro-Trump youth group”
       https         ashingtonpost com technology                   facebook-bans-media-
       consultancy-running-troll-farm-pro-trump-youth-group
       The Daily Beast | Oct. 13, 2020: “Far-Right Social Media Sites Packed With
       Foreign Clickbait”
       https        thedailybeast com -in- -parler-users-follo s-macedonian-clickbait-
       site
       Bloomberg News | Oct. 13, 2020: “Fake News Hub from 2016 Election Thriving
       Again, Report Finds”
       https         bloomberg com ne s articles      -    -   fake-ne s-hub-from-         -
       election-thriving-again-report-finds
       Associated Press | Oct. 13, 2020: “Report: Social media influencers push voting
       misinformation”
       https apne s com article election-    -donald-trump-politics-media-
       misinformation- a e e     c b b    c ad    cb a a
       NBC News | Oct. 15, 2020: “For Trump’s ‘rigged’ election claims, an online
       megaphone awaits”
       https      nbcne s com tech tech-ne s trump-s-rigged-election-claims-online-
       megaphone-a aits-n
       CyberScoop | Oct. 20, 2020: “Why social media disinformation poses such a
       security threat”
       https        cyberscoop com social-media-disinformation-represents-security-
       threat
       MIT Technology Review | Oct. 21, 2020: “Efforts to undermine the election are
       too big for Facebook and Twitter to cope with”
       https         technologyrevie com                            ho -to-delegitimi e-an-
       election-rigged-misinformation
       National Public Radio | Oct. 21, 2020: “Voters In Florida And Alaska Receive
       Emails Warning ‘Vote For Trump Or Else!’”

258
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 73 of 88




 https       npr org                             voters-in-florida-and-alaska-receive-
 emails- arning-vote-for-trump-or-else
 Fast Company | Oct. 23, 2020: “Facebook is still failing to take down ads that
 question the election’s integrity”
 https        fastcompany com                  facebook-is-still-failing-to-take-do n-
 ads-that- uestion-the-elections-integrity
 GeekWire | Oct. 26, 2020: “Scholars tracking social media see efforts to delegit-
 imize election, imperiling democracy”
 https         geek ire com         scholars-tracking-social-media-see-efforts-
 delegitimi e-election-imperiling-democracy
 Science | Oct. 26, 2020: “As U.S. election nears, researchers are following the
 trail of fake news”
 https          sciencemag org ne s              us-election-nears-researchers-are-
 follo ing-trail-fake-ne s
 MIT Technology Review | Oct. 26, 2020: “What to expect on election day”
 https         technologyrevie com                               hat-to-e pect-on-
 election-day-     -disinformation-results
 CyberScoop | Oct. 29, 2020: “Don’t let election-themed misinformation fool you.
 Here’s what to watch out for.”
 https        cyberscoop com election-trump-t itter- inner-misinformation
 KIRO-TV Seattle | Oct. 30, 2020: “UW social media expert: Election misinfor-
 mation is an ‘attack on democracy’”
 https        kiro com ne s local u -social-media-e pert-election-
 misinformation-is-an-attack-democracy
 Oklahoma Watch | Oct. 30, 2020: “These Oklahoma Politicians Gave Misinfor-
 mation a Boost”
 https oklahoma atch org                     these-oklahoma-politicians-gave-
 misinformation-a-boost
 National Public Radio | Nov. 1, 2020: “Researchers Prepare For Deluge Of
 Election Night Misinformation”
 https         npr org                             researchers-prepare-for-deluge-
 of-election-night-misinformationill-failing-to-take-do n-ads-that- uestion-the-
 elections-integrity
 Stanford News | Nov. 2, 2020: “Disinformation investigators: Stanford students
 sleuth for false, misleading reports on how to vote”

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      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 74 of 88




E. News Articles Citing the Election Integrity Partnership


       https   ne s stanford edu              sleuthing-misinformation-voting
       The Washington Post | Nov. 2, 2020: “The Post’s View: Election Day promises to
       be full of misinformation. Here’s how we can all stop its spread.”
       https         ashingtonpost com opinions election-day-promises-to-be-full-of-
       misinformation-heres-ho - e-can-all-stop-its-spread         bd    e - d d-
          eb-b  - c      cd dc story html
       The New York Times | Nov. 3, 2020: “After Twitter Labels Trump’s Tweet About
       Pennsylvania, Its Spread Slows”
       https        nytimes com                technology after-t itter-labels-trumps-
       t eet-about-pennsylvania-its-spread-slo s html
       Protocol | Nov. 3, 2020: “Meet the researchers and activists fighting misinfor-
       mation”
       https        protocol com election-day-     -misinfomation-disinformation
       The Washington Post | Nov. 4, 2020: “Trump’s early victory declarations test
       tech giants’ mettle in policing threats to the election”
       https           ashingtonpost com technology                 misinformation-
       election-social-te t
       The Washington Post | Nov. 4, 2020: “Trump’s campaign and family boost bogus
       conspiracy theories in a bid to undermine vote count”
       https         ashingtonpost com technology                   election-results-
       misinformation
       Detroit Free Press | Nov. 8, 2020: “Antrim County figures prominently in election
       conspiracy theory”
       https        freep com story ne s politics elections                election-
       misinformation-michigan-vote-antrim-county
       Le Monde | Nov. 8, 2020: “Elections américaines : « La désinformation a pris un
       rôle de premier plan »”
       https        lemonde fr pi els article             election-presidentielle-
       americaine-la-desinformation-a-pris-un-role-de-premier-plan
       html
       Reuters | Nov. 8, 2020: “Fact check: Deviation from Benford’s Law does not
       prove election fraud”
       https        reuters com article uk-factcheck-benford-idUS             I
       Bridge Michigan | Nov. 9, 2020: “Human error, Dominion voting equipment fuel
       false fraud claims in Michigan”

260
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 75 of 88




 https       bridgemi com michigan-government human-error-dominion-voting-
 e uipment-fuel-false-fraud-claims-michigan
The Washington Post | Nov. 9, 2020: “Twitter and Facebook warning labels
aren’t enough to save democracy”
 https          ashingtonpost com technology                 facebook-t itter-
 election-misinformation-labels
The Washington Post | Nov. 10, 2020: “Georgia fight shows how Trump’s un-
founded election fraud claims are splitting GOP”
 https         ashingtonpost com politics             cybersecurity-    -georgia-
 fight-sho s-ho -trumps-unfounded-election-fraud-claims-are-splitting-gop
The Washington Post | Nov. 10, 2020: “The Post’s View: Trump is the problem
when it comes to disinformation. So what now?”
 https         ashingtonpost com opinions trump-is-the-problem- hen-it-
 comes-to-disinformation-so- hat-no              e b e - c - eb-a                  -
      ad d    a story html
 National Public Radio | Nov. 10, 2020: “From Steve Bannon To Millennial Millie:
 Facebook, YouTube Struggle With Live Video”
 https        npr org                            from-steve-bannon-to-millennial-
 millie-facebook-youtube-struggle- ith-live-video
CQ Roll Call | Nov. 10, 2020: “Twitter, Facebook face rocky future post-Donald
Trump”
 https        rollcall com              t itter-facebook-face-rocky-future-post-
 donald-trump
Bloomberg News | Nov. 11, 2020: YouTube Election Loophole Lets Some False
Trump-Win Videos Spread”
 https        bloomberg uint com on eb youtube-election-loophole-lets-some-
 false-trump- in-videos-spread
 NBC News | Nov. 11, 2020: “Misinformation by a thousand cuts: Varied rigged
 election claims circulate”
 https         nbcne s com tech tech-ne s misinformation-thousand-cuts-varied-
 rigged-election-claims-circulate-n
The Washington Post | Nov. 12, 2020: “Trump’s attacks on election outcome
prolong tech’s emergency measures’
 https         ashingtonpost com technology                facebook-ad-ban-lame-
 duck

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      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 76 of 88




E. News Articles Citing the Election Integrity Partnership


       Newsweek | Nov. 12, 2020: “Fact Check: Did Dominion Voting Systems Cause
       Widespread Voter Fraud, As Trump Claims?”
       https       ne s eek com fact-check-did-dominion-voting-systems-cause-
        idespread-voter-fraud-trump-claims-
       NBC News | Nov. 12, 2020: “Biden picks chief of staff while misinformation
       wildfire fuels Trump’s refusal to concede”
       https        nbcne s com ne s morning-briefing biden-picks-chief-staff- hile-
       misinformation- ildfire-fuels-trump-s-n
       Americas Quarterly | Nov. 12, 2020: “Misinformation Is Threatening Brazil’s
       Elections, Too”
       https americas uarterly org article misinformation-is-threatening-bra ils-
       elections-too
       Politico Morning Tech | Nov. 13, 2020: “Where Biden’s new chief of staff stands
       on tech”
       https        politico com ne sletters morning-tech                    here-bidens-
       ne -chief-of-staff-stands-on-tech-
       Bloomberg News | Nov. 14, 2020: ‘Follow me on Parler’ is new mantra for users
       aggrieved by Facebook”
       https        politico com ne sletters morning-tech                    here-bidens-
       ne -chief-of-staff-stands-on-tech-
       South China Morning Post | Nov. 16, 2020: “Dis-United States: Biden’s team
       faces reality of rule during Trumpism”
       https       scmp com ne s china diplomacy article                 dis-united-states-
       bidens-team-faces-reality-rule-during
       Detroit Free Press | Nov, 17, 2020: “Russian ballot-stuffing video goes viral again,
       and other predictable things about 2020 misinformation”
       https        freep com story ne s politics elections                  election-
       misinformation-predictable
       The Associated Press | Nov. 20, 2020: “Who needs Russia? Loudest attacks on
       US vote are from Trump”
       https apne s com article donald-trump-loudest-attack-us-vote-bc         f         e
        dd c c       d b
       The New York Times | Nov. 20, 2020: “Trump allies are among the frequent
       purveyors of election misinformation”

262
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 77 of 88




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 fre uent-purveyors-of-election-misinformation html
The New York Times | Nov. 23, 2020: “How Misinformation ‘Superspreaders’
Seed False Election Theories”
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 fre uent-purveyors-of-election-misinformation html
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Audiences on Fringes”
 https        voane s com usa russian-influence-peddlers-carving-out-ne -
 audiences-fringes
The Wall Street Journal | Dec. 11, 2020: “Social Media in 2020: A Year of Misin-
formation”
 https         s com articles social-media-in-        -a-year-of-misinformation-and-
 disinformation-
 MLive | Jan. 4, 2021: “Misinformation and conspiracies took starring role in
 Michigan’s political movements”
 https         mlive com public-interest         misinformation-and-conspiracies-
 took-starring-role-in-michigans-political-movements html
 Computer Weekly | Jan. 8, 2021: “Tech sector reacts to Trump social media
 bans”
 https       computer eekly com ne s                   Tech-sector-reacts-to-Trump-
 social-media-bans
The New York Times | Jan. 8, 2021: “Trump Isn’t the Only One”
 https       nytimes com                  technology trump-misinformation-
 superspreaders html
 National Public Radio | Jan. 8, 2021: “Twitter Permanently Suspends Trump,
 Citing ‘Risk Of Further Incitement Of Violence’”
 https         npr org                           t itter-bans-president-trump-citing-
 risk-of-further-incitement-of-violence
The Missoulian | Jan. 9, 2021: “Riot blame-shifting leaks into Montana social
media”
 https missoulian com ne s state-and-regional riot-blame-shifting-leaks-into-
 montana-social-media article bec ab -dd b-     - b e- a   b a e html
The Washington Post | Jan. 16, 2021 “Misinformation dropped dramatically the
week after Twitter banned Trump and some allies”

                                                                                        263
      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 78 of 88




E. News Articles Citing the Election Integrity Partnership


       https          ashingtonpost com technology                  misinformation-trump-
       t itter
       CNET | Jan. 16, 2021: “After Twitter banned Trump, misinformation plummeted,
       says report”
       https      cnet com ne s after-t itter-banned-trump-misinformation-
       plummeted-says-report
       Variety | Jan. 17, 2021: “After Twitter Banned Donald Trump, Election Misinfor-
       mation Online Plunged Dramatically”
       https variety com         digital ne s t itter-ban-trump-election-misinformation-
       research-
       Mountain View Voice | Jan. 21, 2021: “Can social media giants stop an insurrec-
       tion before it happens?”
       https mv-voice com ne s                      can-social-media-giants-stop-an-
       insurrection-before-it-happens
       Nature | Feb. 4, 2021: “Tracking QAnon: how Trump turned conspiracy-theory
       research upside down”
       https        nature com articles d       -      -     -y




264
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 79 of 88




                                                                                Appendix           F
                      Methodology for Evaluating
                                Platform Policy

 In total, we evaluated 15 different platforms1 across four categories meant to par-
 tition the space of potential problematic content and behavior: the mechanics of
 the election (Procedural Interference), the voters themselves (Participation In-
 terference), encouragement of fraud (Fraud), and casting doubt on the integrity
 of the election outcome. (Delegitimization of Election Results). The definitions
 of these categories are detailed in Chapter 1.
We first determined if the platform stated in its community guidelines whether it
would address election-related content on its platform. While the platforms that
don’t have election-related policies—Parler, Gab, Discord, WhatsApp, Telegram,
Reddit, and Twitch— may use existing policies to address content such as the
encouragement of fraud, we cannot properly evaluate them in an election-
related context. We then rated each platform’s policies as either “None,” “Non-
Comprehensive,” or “Comprehensive,” depending on how specifically it addresses
the content type:


     • None: The platform has no explicit policy or stance on the issue.

     • Non-Comprehensive: Policy in this category contains indirect language,
       or uses broad “umbrella” language, such that it is not clear what type of
       election misinformation and disinformation the policy covers. This is also
       reserved for policies that give one detailed example such that they cover
       some, but not all, of a subject.
     1
     The platforms we evaluated are: Facebook, Instagram, Twitter, YouTube, Pinterest, Nextdoor,
 TikTok, Snapchat, Parler, Gab, Discord, WhatsApp, Telegram, Reddit, and Twitch. Twitch was
 added to the list of platforms we evaluated during our blog post update in October.


                                              265
      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 80 of 88




F. Methodology for Evaluating Platform Policy


          • Comprehensive: Policy in this category uses direct language and is clear
            on what type of election misinformation and disinformation the policy
            covers. It also sufficiently covers the full breadth of the category.

       For each of the categories, we defined “Comprehensive” to be:

          • Procedural: The policy specifies time, place, or manner (e.g., voting in
            person and by mail).

          • Participation: The policy specifies it will address posts that include intim-
            idation to personal safety or deterrence to participation in the election
            process, which can be both violent and non-violent.

          • Fraud: The policy specifies it will address posts that encourage participat-
            ing in the election in an illegal way.

          • Delegitimization of Election Results: The policy specifies it will address
            claims that attempt to delegitimize the election.

       The tables in this report have slightly different policy ratings under the category
       of fraud from when we first published our analysis in August 2020. There were
       many unfounded claims of “election fraud,” but we determined that this fell into
       the larger category of delegitimization of election results. Our fraud category
       is therefore scoped solely around claims that encourage people to commit
       fraud—which appeared only a handful of times during our monitoring period.
       Many platforms, including those without election-related policies, have terms
       of service policies and community standards that state the promotion of illegal
       activity is not allowed on its platform. However, only Facebook and Pinterest
       explicitly state that the encouragement of voter fraud is not allowed on their
       platforms and therefore received a rating of “Comprehensive.”
       Over the four months of the EIP’s operation, we updated our platform evaluations
       to account for policy changes made by the platforms. We frequently checked
       for changes in platforms’ community guidelines and followed the platforms’
       blog posts, which we considered to be policy statements even though some
       of these updates weren’t formally incorporated into the platforms’ community
       guidelines. We did not consider policy changes that were stated to the press,
       or on social media by executives or employees of the platform. Below is a table
       of the corresponding policies for each platform. The colors correspond to new
       policies that were introduced between August 2020 and October 28, 2020.




266
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 81 of 88




 Facebook
  Procedural Interference         Participation Interference                  Fraud                     Delegitimization of
                                                                                                         Election Results
 Comprehensive (Rating            Comprehensive (Rating            Comprehensive (Rating           Comprehensive (Rating
 did not change during            did not change during            did not change during           changed from
 election cycle):                 election cycle; policies         election cycle):                Non-Comprehensive):
 “Misrepresentation of the        updated are shown in red):       “Offers to buy or sell votes    “We will attach an
 dates, locations, and times,     “Any content containing          with cash or gifts.”            informational label to
 and methods for voting or        statements of intent, calls      “Statements that advocate,      content that seeks to
 voter registration or            for action, conditional or       provide instructions or         delegitimize the outcome
 census participation.”           aspirational statements, or      show explicit intent to         of the election or discuss
 “Misrepresentation of who        advocating for high- or          illegally participate in a      the legitimacy of voting
 can vote, qualifications for     mid-severity violence due        voting or census process.”      methods, for example, by
 voting, whether a vote will      to voting, voter                 Comprehensive (Rating           claiming that lawful
 be counted, and what             registration, or the             changed from                    methods of voting will lead
 information and/or               administration or outcome        Non-Comprehensive):             to fraud. This label will
 materials must be provided       of an election.” [Sept. 03]      “We will attach an              provide basic authoritative
 in order to vote.”               “Content stating that            informational label to          information about the
 “Calls for coordinated           census or voting                 content that seeks to           integrity of the election
 interference that would          participation may or will        delegitimize the outcome        and voting methods.” [Sept.
 affect an individual’s ability   result in law enforcement        of the election or discuss      03]
 to participate in the            consequences (e.g., arrest,      the legitimacy of voting        “Importantly, if any
 census or an election.”          deportation,                     methods, for example, by        candidate or campaign
 Facebook will remove             imprisonment).”                  claiming that lawful            tries to declare victory
 implicit                         “Content claiming that the       methods of voting will lead     before the results are in,
 misrepresentations about         US Immigration and               to fraud. This label will       we’ll add a label to their
 voting that may “mislead         Customs Enforcement              provide basic authoritative     post educating that official
 you about what you need          (ICE) is at a voting             information about the           results are not yet in and
 to do to get a ballot.” [Sept.   location.” [Sept. 03]            integrity of the election       directing people to the
 03]                              “Calls for coordinated           and voting methods.” [Sept.     official results.” [Sept. 03]
                                  interference that would          03]                             “Other misrepresentations
                                  affect an individual’s ability   “Importantly, if any            related to voting in an
                                  to participate in an             candidate or campaign           official election or census
                                  election.”’                      tries to declare victory        participation may be
                                  “Explicit claims that people     before the results are in,      subject to false news
                                  will be infected by COVID        we’ll add a label to their      standards, as referenced in
                                  (or another communicable         post educating that official    section 20” (now section
                                  disease) if they participate     results are not yet in and      21).
                                  in the voting process.”          directing people to the
                                  [Sept. 03]                       official results.” [Sept. 03]
                                  “Statements of intent or         “Other misrepresentations
                                  advocacy, calls to action,       related to voting in an
                                  or aspirational or               official election or census
                                  conditional statements to        participation may be
                                  bring weapons to locations,      subject to false news
                                  including but not limited        standards, as referenced in
                                  to places of worship,            section 20” (now section
                                  educational facilities, or       21).
                                  polling places, or locations
                                  used to count votes or
                                  administer an election* (or
                                  encouraging others to do
                                  the same).”
                                  *“For the following
                                  content, we may require
                                  more information and/or
                                  context in order to enforce:
                                  Threats against election
                                  officials.” [Sept. 03]




                                                                                                                                   267
      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 82 of 88




F. Methodology for Evaluating Platform Policy


       Twitter
         Procedural Interference         Participation Interference                 Fraud                    Delegitimization of
                                                                                                               Election Results
        Comprehensive (Rating            Comprehensive (Rating           Non-Comprehensive               Comprehensive (Rating
        did not change during            did not change during           (Rating did not change          changed from
        election cycle):                 election cycle):                during election cycle):         Non-Comprehensive):
        “Misleading information          “Misleading claims about        “Illegal or certain regulated   “Misleading claims that
        about procedures to              police, or law enforcement      goods or services: You may      polling places are closed,
        participate in a civic           activity related to voting in   not use our service for any     that polling has ended or
        process (for example, that       an election, polling places,    unlawful purpose or in          other misleading
        you can vote by Tweet, text      or collecting census            furtherance of illegal          information relating to
        message, email, or phone         information.”                   activities. This includes       votes not being counted.”
        call in jurisdictions where      “Misleading claims about        selling, buying, or             “We also consider whether
        these are not a possibility).”   long lines, equipment           facilitating transactions in    the context in which media
        “Misleading information          problems, or other              illegal goods or services, as   are shared could result in
        about requirements for           disruptions at voting           well as certain types of        confusion or
        participation, including         locations during election       regulated goods or              misunderstanding or
        identification or                periods.” “Misleading           services.”                      suggests a deliberate
        citizenship requirements”        claims about process,                                           intent to deceive people
        “Misleading statements or        procedures, or techniques                                       about the nature or origin
        information about the            which could dissuade                                            of the content, for example
        official, announced date or      people from participating.”                                     by falsely claiming that it
        time of a civic process.”        “Threats regarding voting                                       depicts reality.”
        “Misleading claims that          locations or other key                                          “Disputed claims that
        polling places are closed,       places or events (note that                                     could undermine faith in
        that polling has ended or        our violent threats policy                                      the process itself, e.g.
        other misleading                 may also be relevant for                                        unverified information
        information relating to          threats not covered by this                                     about election rigging,
        votes not being counted.”        policy).”                                                       ballot tampering, vote
        “Misleading claims about         Twitter will remove                                             tallying, or certification of
        long lines, equipment            “Tweets that encourage                                          election results.” [Sept. 10]
        problems, or other               violence or call for people                                     “Misleading claims about
        disruptions at voting            to interfere with election                                      the results or outcome of a
        locations during election        results or smooth                                               civic process which calls
        periods.”                        operation of polling places.”                                   for or could lead to
        “False or misleading             [Oct. 9]                                                        interference with the
        information that causes          “Tweets meant to incite                                         implementation of the
        confusion about the laws         interference with the                                           results of the process, e.g.
        and regulations of a civic       election process or with                                        claiming victory before
        process, or officials and        the implementation of                                           election results have been
        institutions executing           election results, such as                                       certified, inciting unlawful
        those civic processes.”          through violent action, will                                    conduct to prevent a
        [Sept. 10]                       be subject to removal. This                                     peaceful transfer of power
                                         covers all Congressional                                        or orderly succession.”
                                         races and the Presidential                                      [Oct. 9]
                                         Election.” [Oct. 9]                                             “People on Twitter,
                                                                                                         including candidates for
                                                                                                         office, may not claim an
                                                                                                         election win before it is
                                                                                                         authoritatively called. To
                                                                                                         determine the results of an
                                                                                                         election in the US, we
                                                                                                         require either an
                                                                                                         announcement from state
                                                                                                         election officials, or a
                                                                                                         public projection from at
                                                                                                         least two authoritative,
                                                                                                         national news outlets that
                                                                                                         make independent election
                                                                                                         calls. Tweets which
                                                                                                         include premature claims
                                                                                                         will be labeled and direct
                                                                                                         people to our official US
                                                                                                         election page.” [Oct. 9]




268
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 83 of 88




 YouTube
  Procedural Interference        Participation Interference                  Fraud                    Delegitimization of
                                                                                                        Election Results
 Comprehensive (Rating           Comprehensive (Rating            Non-Comprehensive               Non-Comprehensive
 did not change during           changed from                     (Rating did not change          (Rating did not change
 election cycle):                Non-Comprehensive):              during election cycle):         during election cycle):
 “Content aiming to mislead      “Content aiming to mislead       “Don’t post content on          Manipulated Media:
 voters about the time,          voters about the time,           YouTube if it fits any of the   “Content that has been
 place, means or eligibility     place, means or eligibility      descriptions noted below.       technically manipulated or
 requirements for voting, or     requirements for voting, or      Instructional theft or          doctored in a way that
 false claims that could         false claims that could          cheating: Showing viewers       misleads users (beyond
 materially discourage           materially discourage            how to steal tangible           clips taken out of context)
 voting.                         voting.”                         goods or promoting              and may pose a serious
 “Incitement to interfere        “Incitement to interfere         dishonest behavior”             risk of egregious harm.”
 with democratic processes:      with democratic processes:                                       Example: “Misattributing a
 content encouraging             content encouraging                                              10 year old video that
 others to interfere with        others to interfere with                                         depicts stuffing of a ballot
 democratic processes,           democratic processes,                                            box to a recent election.”
 such as obstructing or          such as obstructing or                                           Examples of content not to
 interrupting voting             interrupting voting                                              post:
 procedures.”                    procedures.”                                                      • False claims that
 Examples of content not to      Examples of content not to                                       non-citizen voting has
 post:                           post:                                                            determined the outcome
  • “Deliberately telling         • Telling viewers to create                                     of past elections.
 viewers an incorrect            long voting lines with the                                        • Telling viewers to hack
 election date.”                 purpose of making it                                             government websites to
  • “Telling viewers they can    harder for others to vote                                        delay the release of
 vote through fake methods        • “Claiming that a voter’s                                      elections results
 like texting their vote to a    political party affiliation is                                    • Manipulated Media:
 particular number.”             visible on a vote-by-mail                                        “Content that has been
  • “Giving made up voter        envelope.”                                                       technically manipulated or
 eligibility requirements                                                                         doctored in a way that
 like saying that a particular                                                                    misleads users (beyond
 election is only open to                                                                         clips taken out of context)
 voters over 50 years old.”                                                                       and may pose a serious
  • “we remove content                                                                            risk of egregious harm.”
 falsely claiming that
 mail-in ballots have been
 manipulated to change the
 results of an election”




                                                                                                                                 269
      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 84 of 88




F. Methodology for Evaluating Platform Policy


       Pinterest
         Procedural Interference       Participation Interference                Fraud                 Delegitimization of
                                                                                                        Election Results
        Comprehensive (Rating          Comprehensive (Rating           Comprehensive (Rating       Comprehensive (Rating
        changed from None):            changed from                    changed from                changed from
        “False or misleading           Non-Comprehensive):             Non-Comprehensive):         Non-Comprehensive):
        information about the          “False or misleading            “Content that encourages    “Content apparently
        dates, times, locations and    content that impedes an         or instructs voters or      intended to delegitimize
        procedure for voting or        election’s integrity or an      participants to             election results on the
        census participation.”         individual’s or group’s civic   misrepresent themselves     basis of false or misleading
        “Content that misleads         participation, including        or illegally participate”   claims.” [Sept. 3]
        voters about how to            registering to vote, voting,    [Sept. 3]
        correctly fill-out and         and being counted in a
        submit a ballot, including a   census.”
        mail-in ballot, or census      “False or misleading
        form.” [Sept. 3]               information about public
                                       safety that is intended to
                                       deter people from
                                       exercising their right to
                                       vote or participate in a
                                       census.”
                                       “False or misleading
                                       information about who can
                                       vote or participate in the
                                       census and what
                                       information must be
                                       provided to participate.”
                                       “False or misleading
                                       statements about who is
                                       collecting information
                                       and/or how it will be used.”
                                       “Threats against voting
                                       locations, census or voting
                                       personnel, voters or
                                       census participants,
                                       including intimidation of
                                       vulnerable or protected
                                       group voters or
                                       participants.” [Sept. 3]




270
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 85 of 88




 Nextdoor
  Procedural Interference       Participation Interference                Fraud                     Delegitimization of
                                                                                                      Election Results
 Non-Comprehensive              Non-Comprehensive              Non-Comprehensive                Non-Comprehensive
 (Rating changed from           (Rating changed from           (Rating did not change           (Rating changed from
 Comprehensive):                None):                         during election cycle):          None):
 “bans any inaccurate           “False or misleading           “When offering or seeking        “False or misleading
 content about the time,        information that could         goods or services on             information that could
 place, means, or eligibility   prevent or discourage          Nextdoor, make sure that         prevent or discourage
 requirements to vote in        people from voting, cause      you’re complying with local      people from voting, cause
 any local or national          their votes not to be          laws and not engaging in         their votes not to be
 elections in the U.S.”         counted, or interfere with     illegal transactions.”           counted, or interfere with
 “False or misleading           the election process.”                                          the election process.”
 information that could                                                                         “False or misleading claims
 prevent or discourage                                                                          about the results of an
 people from voting, cause                                                                      election that could lead to
 their votes not to be                                                                          interference with the
 counted, or interfere with                                                                     election process.”
 the election process.”




 TikTok
  Procedural Interference       Participation Interference                Fraud                     Delegitimization of
                                                                                                      Election Results
 Non-Comprehensive              Non-Comprehensive              Non-Comprehensive                Comprehensive (Rating
 (Rating did not change         (Rating changed from           (Rating did not change           changed from
 during election cycle):        None):                         during election cycle):          Non-Comprehensive):
 “Content that misleads         “Attempts to intimidate        “Content may be removed          “False claims that seek to
 community members              voters or suppress voting.”    if it relates to activities or   erode trust in public
 about elections or other       TikTok will redirect search    goods that are regulated or      institutions, such as claims
 civic processes.”              results with terms             illegal in the majority of       of voter fraud resulting
 “Claims relating to polling    associated with                the region or world, even if     from voting by mail or
 stations on election day       “incitement to violence.”      the activities or goods in       claims that your vote won’t
 that have not yet been         TikTok will block future       question are legal in the        count.” [Oct. 7]
 verified.”                     livestreaming from an          jurisdiction of posting.”        “Content that misleads
 “Content that                  account whose livestream                                        community members
 misrepresents the date of      “seeks to incite violence or                                    about elections or other
 an election.” [Oct. 7]         promote hateful ideologies,                                     civic processes.”
                                conspiracies, or                                                “Reviewed content that
                                disinformation.”                                                shares unverified claims,
                                TikTok will add a banner                                        such as a premature
                                pointing viewers to our                                         declaration of victory
                                election guide content                                          before results are
                                with…“attempts to                                               confirmed.” [Oct. 7]
                                dissuade people from
                                voting by exploiting
                                COVID-19 as a voter
                                suppression tactic.” [Oct.
                                7]




                                                                                                                               271
      Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 86 of 88




F. Methodology for Evaluating Platform Policy


       Snapchat
         Procedural Interference      Participation Interference             Fraud                   Delegitimization of
                                                                                                       Election Results
        Non-Comprehensive             None                         Non-Comprehensive             Non-Comprehensive
        (Rating changed from No                                    (Rating changed from No       (Rating changed from No
        election-related policies):                                election-related policies):   election-related policies):
        “We prohibit spreading                                     We prohibit the promotion     “We prohibit spreading
        false information that                                     and use of certain            false information that
        causes harm or is                                          regulated goods, as well as   causes harm or is
        malicious, such as denying                                 the depiction or promotion    malicious, such as denying
        the existence of tragic                                    of criminal activities.       the existence of tragic
        events, unsubstantiated                                                                  events, unsubstantiated
        medical claims, or                                                                       medical claims, or
        undermining the integrity                                                                undermining the integrity
        of civic processes.”                                                                     of civic processes.”




       F.1 Assessing our methodology
       The purpose of this framework is to provide a clear visualization of civic integrity
       policies across multiple social media platforms, and to create a single standard
       upon which all platforms could be evaluated. The community guidelines and
       terms of service that moderate user content vary widely among platforms, and do
       not use standardized vocabulary. By directly comparing the language of multiple
       platforms, the framework provides insight into the policies of each platform. This
       allowed our analysis to act as an advocate for specific policy recommendations
       at a platform level by highlighting existing shortfalls. Finally, the framework is
       intended to be a resource for civil society, academia, and citizens to understand
       what election-related speech popular platforms moderate.
       At the same time, there are limitations to this methodology that are equally
       important to reflect on. First, the framework doesn’t consider that each platform
       functions differently in the information environment. For example, we didn’t
       explore whether messaging platforms such as WhatsApp should have different
       policies from a video platform like YouTube when it comes to election-related
       content.
       Second, this framework’s rating system was centered on policy language and
       not how these policies were applied in practice, which may give a misleading
       impression that one platform is better than another in mitigating misinformation
       and disinformation. Although many platform policies are accessible to the
       general public, platforms also have internal guidance specifying more nuances
       of their externally facing rules, including deciding how to apply these policies.
       The opacity of platform decision-making serves as another limitation to the
       accuracy of our framework; for example, some gaps we identified in platform
       policies could be accounted for by internal mechanisms, or some proficiencies
       nullified by a company’s reluctance to enforce at scale; there may be unknown
       pitfalls about these policies that we don’t see externally.

272
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 87 of 88




                                                       F.1. Assessing our methodology


Lastly, as our categories were created before the election, we didn’t know how
effective they would be in accurately capturing and describing the content that
we came across in our monitoring. As we applied these categories in practice,
some of them narrowed while others expanded. For example, the category of
Fraud presented a challenge to our original definition because the term “fraud”
was used broadly to cast doubt on the election. The scope for our fraud category
was limited to a strict definition of content that encouraged people to commit
fraud. Thus, the unfounded accusations of fraud fell into the Delegitimization
category, which, looking back at our data, encompassed the majority of the
incidents we monitored. Therefore, in contrast to the specificity we tried to
capture in the other categories, Delegitimization as a category became very
expansive.




                                                                                   273
Case 1:20-cv-11889-MLW Document 195-5 Filed 08/09/21 Page 88 of 88




THE LONG FUSE:
 MISINFORMATION AND THE 2020 ELECTION




T
        he Election Integrity Partnership was officially formed
        on July 26, 2020 — 100 days before the 2020 presidential
        election — as a coalition of research entities who would
focus on supporting real-time information exchange between
the research community, election officials, government agencies,
civil society organizations, and social media platforms. The
Partnership was formed between four of the nation’s leading
institutions focused on understanding misinformation in the
social media landscape: the Stanford Internet Observatory,
Graphika, the Atlantic Council’s Digital Forensic Research Lab,
and the University of Washington’s Center for an Informed Public.
This is the final report of their findings.




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